                   Case 2:21-cv-18714 Document 1-1 Filed 10/15/21 Page 1 of 282 PageID: 12
eCourts Civil Case Jacket                                                                                                           10/15/21, 12:21 PM




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                                                                              Home
                                                                               Help
                                                                              Logout


                                                                     CASE JACKET
                                                               User:BARUCH GOTTESMAN
                                                        Docket Number: BER L 003841 - 21
                                                               Back                                                         Create Summary Report


                                              Case Caption: Gruenbaum Tamar Vs Ackerman Shanalee
     Court: Civil Part                                        Venue: Bergen                     Case Initiation Date: 06/14/2021
     Case Type: Contract/Commercial Transaction               Case Status: Active               Jury Demand: 12 Jurors
     Case Track: 2                                            Judge: Robert C Wilson            Team: 2
     # of Discovery Days: 300                                 Age of Case: 00 YR 04 MO          Consolidated Case: Y
     Original Discovery End Date:                             Current Discovery End Date:       # of DED Extensions: 0
     Original Arbitration Date:                               Current Arbitration Date:         # of Arb Adjournments: 0
     Original Trial Date:                                     Current Trial Date:               # of Trial Date Adjournments: 0
     Disposition Date:                                        Case Disposition: Open            Statewide Lien:

     Plaintiffs (2)          Defendants (2)              Case Proceedings (2)               ACMS Documents (15)             Fees (15)


                                                         Tamar Gruenbaum Dds,Llc                    AKA

                                                                  Tamar Gruenbaum


                                                                 Case Actions
                                                                                                                                            Entry
 Filed Date Filings                                                Docket Text                                          Transaction ID
                                                                                                                                            Date
                      Complaint with Jury Demand for BER-L-003841-21 submitted by GARBER, BENJAMIN ALEX,
 06/14/2021           BRAVERMAN KASKEY PC on behalf of TAMAR GRUENBAUM, TAMAR GRUENBAUM DDS, LCV20211437651 06/15/2021
                      LLC against SHANALEE ACKERMAN, ACKERMAN PRACTICE MANAGEMENT
                      CLERK NOTICE: re: Complaint [LCV20211437651] -The data entered in eCourts (data) does not
 06/15/2021           match the information contained in the document(s). In order to correct data, a motion must be made LCV20211439038 06/15/2021
                      pursuant to R. 1:5-6.
                      CLERK NOTICE: re: Complaint [LCV20211437651] -Please be advised that ACMS has been updated
 06/15/2021                                                                                                               LCV20211439040 06/15/2021
                      to reflect DTC as indicated on the complaint.

 06/16/2021           TRACK ASSIGNMENT Notice submitted by Case Management                                            LCV20211447464 06/16/2021

                      AFFIDAVIT OF SERVICE submitted by GARBER, BENJAMIN, ALEX of BRAVERMAN KASKEY
 07/09/2021           PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM against SHANALEE                       LCV20211625225 07/09/2021
                      ACKERMAN
                      AFFIDAVIT OF SERVICE submitted by GARBER, BENJAMIN, ALEX of BRAVERMAN KASKEY
 07/09/2021           PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM against ACKERMAN                       LCV20211625242 07/09/2021
                      PRACTICE MANAGEMENT
                      REQUEST FOR DEFAULT submitted by GARBER, BENJAMIN, ALEX of BRAVERMAN KASKEY
 07/30/2021           PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM against SHANALEE                       LCV20211779776 07/30/2021
                      ACKERMAN, ACKERMAN PRACTICE MANAGEMENT
                      AFFIDAVIT OF DILIGENT INQUIRY submitted by GARBER, BENJAMIN, ALEX of
 08/04/2021           BRAVERMAN KASKEY PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR                                 LCV20211818732 08/04/2021
                      GRUENBAUM against SHANALEE ACKERMAN, ACKERMAN PRACTICE MANAGEMENT
 08/17/2021           Default has been entered against the following party/parties: SHANALEE ACKERMAN                 LCV20211909965 08/17/2021
                      Default has been entered against the following party/parties: ACKERMAN PRACTICE MA
 08/17/2021                                                                                                           LCV20211909966 08/17/2021

https://portal.njcourts.gov/webcivilcj/CIVILCaseJacketWeb/pages/civilCaseSearch.faces                                                      Page 1 of 2
                   Case 2:21-cv-18714 Document 1-1 Filed 10/15/21 Page 2 of 282 PageID: 13
eCourts Civil Case Jacket                                                                                                            10/15/21, 12:21 PM


                    NAGEMENT
                    MOTION ENTERING DEFAULT JUDGMENT submitted by GARBER, BENJAMIN, ALEX of
                    BRAVERMAN KASKEY PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR
 08/18/2021                                                                                                               LCV20211916798 08/18/2021
                    GRUENBAUM against SHANALEE ACKERMAN, ACKERMAN PRACTICE MANAGEMENT
                    *LINKED FILING*
                    The motion filed on 08/18/2021 will be decided on 09/10/2021. Do not come to the courthouse because
 08/19/2021         no oral argument has been requested. The court's decision will be provided to you. Re: MOTION         LCV20211922589 08/19/2021
                    ENTERING DEFAULT JUDGMENT [LCV20211916798]
                    OPPOSITION TO MOTION submitted by GOTTESMAN, BARUCH, S of BARUCH S.
                    GOTTESMAN, ESQ. on behalf of SHANALEE ACKERMAN, ACKERMAN PRACTICE
 09/01/2021                                                                                                               LCV20212032675 09/01/2021
                    MANAGEMENT against TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM *LINKED
                    FILING*
                    OPPOSITION TO MOTION submitted by GOTTESMAN, BARUCH, S of BARUCH S.
                    GOTTESMAN, ESQ. on behalf of SHANALEE ACKERMAN, ACKERMAN PRACTICE
 09/01/2021                                                                                                               LCV20212032679 09/01/2021
                    MANAGEMENT against TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM *LINKED
                    FILING*
                    MOTION TO CONSOLIDATE CASES submitted by GOTTESMAN, BARUCH, S of BARUCH S.
                    GOTTESMAN, ESQ. on behalf of SHANALEE ACKERMAN, ACKERMAN PRACTICE
 09/02/2021                                                                                                               LCV20212039606 09/02/2021
                    MANAGEMENT against TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM *LINKED
                    FILING*
                    The motion filed on 09/02/2021 will be decided on 09/24/2021. Do not come to the courthouse because
 09/03/2021         no oral argument has been requested. The court's decision will be provided to you. Re: MOTION TO      LCV20212047670 09/03/2021
                    CONSOLIDATE CASES [LCV20212039606]
                    REPLY BRIEF submitted by GARBER, BENJAMIN, ALEX of BRAVERMAN KASKEY PC on
 09/07/2021         behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM against SHANALEE                                   LCV20212068200 09/07/2021
                    ACKERMAN, ACKERMAN PRACTICE MANAGEMENT *LINKED FILING*

 09/10/2021         Order To Enter Judgment - GRANTED by Judge WILSON, ROBERT, C                                          LCV20212099230 09/10/2021

                    ORDER ENTERING DEFAULT JUDGMENT-Denied by Judge WILSON, ROBERT, C re: MOTION
 09/10/2021                                                                                      LCV20212152305 09/16/2021
                    ENTERING DEFAULT JUDGMENT [LCV20211916798]
                    OPPOSITION TO MOTION submitted by GARBER, BENJAMIN, ALEX of BRAVERMAN
 09/16/2021         KASKEY PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM against                               LCV20212149907 09/16/2021
                    SHANALEE ACKERMAN, ACKERMAN PRACTICE MANAGEMENT *LINKED FILING*
                    AFFIDAVIT OF SERVICE submitted by GARBER, BENJAMIN, ALEX of BRAVERMAN KASKEY
 10/07/2021                                                                                      LCV20212344172 10/07/2021
                    PC on behalf of TAMAR GRUENBAUM against SHANALEE ACKERMAN
                    AFFIDAVIT OF SERVICE submitted by GARBER, BENJAMIN, ALEX of BRAVERMAN KASKEY
 10/07/2021         PC on behalf of TAMAR GRUENBAUM DDS,LLC, TAMAR GRUENBAUM against ACKERMAN LCV20212344440 10/07/2021
                    PRACTICE MANAGEMENT
                                                       Showing 1 to 22 of 22 entries




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https://portal.njcourts.gov/webcivilcj/CIVILCaseJacketWeb/pages/civilCaseSearch.faces                                                      Page 2 of 2
          Case 2:21-cv-18714 06/14/2021
            BER-L-003841-21   Document8:45:42
                                        1-1 Filed 10/15/21
                                              PM Pg           Page
                                                    1 of 1 Trans ID: 3 of 282 PageID: 14
                                                                     LCV20211437651




                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Shanalee Ackerman and
  Ackerman Practice Management, LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:             Shanalee Ackerman
Address of Defendant to Be Served: 1775             ork Ave., #32A, ew ork,                  10128



Revised 11/17/2014, CN 10792-English (Appendix XII-A)
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21    Document   1-1 Filed
                                8:45:42     10/15/21
                                        PM Pg           Page
                                              1 of 15 Trans ID:4LCV20211437651
                                                                 of 282 PageID: 15




BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                     Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                  SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                     JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                       BERGEN COUNTY
  385 S Maple Ave, #107
  Glen Rock, NJ 07452                        Docket No. ___________
                    Plaintiffs,
                                             COMPLAINT AND JURY DEMAND
               v.                            DESIGNATION OF TRIAL
                                             COUNSEL, AND CERTIFICATIONS
  SHANALEE ACKERMAN                          UNDER RULES 1:38-7(b) and 4:5-1
  1775 York Avenue, #32A
  New York, NY 10128; and

  ACKERMAN PRACTICE
  MANAGEMENT, LLC,
  13867 Jeremiah Road
  Jacksonville, FL 32224,
                    Defendants.

      Plaintiffs Tamar Gruenbaum, DDS (“Dr. Gruenbaum”) and Tamar

Gruenbaum DDS, LLC d/b/a Ridgewood Valley Pediatric Dentistry (the “Practice”),

by and through their undersigned counsel, brings this Complaint against

defendants Shanalee Ackerman (“Ackerman”) and Ackerman Practice Management,

LLC (“APM”), as follows:




                                         1
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21    Document   1-1 Filed
                                8:45:42     10/15/21
                                        PM Pg           Page
                                              2 of 15 Trans ID:5LCV20211437651
                                                                 of 282 PageID: 16




                           PRELIMINARY STATEMENT

      1.     Dr. Gruenbaum is the owner of a local pediatric dental practice. This

action arises from defendants’ fraud, breaches of contract, and other unlawful

conduct perpetrated against plaintiffs in connection with a services contract (the

“Agreement”), pursuant to which, inter alia, defendants agreed to provide

management and consulting related services to plaintiffs.

      2.     Specifically, pursuant to the Agreement and otherwise, defendants

were required to provide expert guidance on a variety of issues including, without

limitation, Practice finances and marketing, team structure, clinical protocols,

business decisions and protocols, insurance billing and practices, and case

acceptance systems.

      3.     As alleged herein, Ackerman first procured the Agreement through

fraud by misrepresenting her and APM’s credentials and expertise to Dr.

Gruenbaum, and then failed to provide the services required under the Agreement

and breached their common law obligations owed to plaintiffs.

      4.     Defendants’ acts and omissions, as alleged herein, have, and continue

to cause substantial financial harm to plaintiffs and give rise to the claims asserted

herein for breach of contract, breach of fiduciary duty, fraud, conversion, and unjust

enrichment, among others.




                                          2
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21    Document   1-1 Filed
                                8:45:42     10/15/21
                                        PM Pg           Page
                                              3 of 15 Trans ID:6LCV20211437651
                                                                 of 282 PageID: 17




                                      PARTIES

      5.     Dr. Gruenbaum is an adult individual with a business address of 385

S. Maple Avenue, #107, Glen Rock, New Jersey 07452.

      6.     Tamar Gruenbaum DDS, LLC, d/b/a Ridgewood Valley Pediatric

Dentistry is a New Jersey limited liability company with an address of 385 S. Maple

Avenue, #107, Glen Rock, New Jersey 07452.

      7.     Ackerman is an adult individual with an address at 1775 York Avenue,

#32A, New York, New York 10128.

      8.     Upon information and belief, Ackerman also has an address of 104

West Oak Highway, Westminster, Fl 29697.

      9.     APM is a Florida corporation with a registered address of 13867

Jeremiah Road, Jacksonville, FL 32224.

      10.    At all times material hereto, Ackerman has been a shareholder, officer,

director, principal, and agent of APM.

                             JURISDICTION AND VENUE

      11.    This Court has subject matter jurisdiction over this action pursuant to

N.J. Const. Art. VI § III.

      12.    This Court has personal jurisdiction over all of the parties, as each

party resides in, conducts business in or has its principal place of business in New

Jersey, and the actions described herein occurred in New Jersey.

      13.    Venue is appropriate in this Court pursuant to NJ Court Rules 4:3-

1(a)(5) and 4:3-2(a).



                                          3
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21    Document   1-1 Filed
                                8:45:42     10/15/21
                                        PM Pg           Page
                                              4 of 15 Trans ID:7LCV20211437651
                                                                 of 282 PageID: 18




                                        FACTS

                                     Background

      14.    Dr. Gruenbaum grew up in Teaneck, New Jersey and earned her

D.D.S. from Columbia University College of Dental Medicine.

      15.    Dr. Gruenbaum completed a general practice residency at Montefiore

Medical Center in Bronx, New York.

      16.    Dr. Gruenbaum did her post-graduate training in pediatric dentistry at

Maimonides Medical Center in Brooklyn, New York, where she served as chief

resident during her second year.

      17.    Dr. Gruenbaum is a member of the AAPD and is board certified by the

American Board of Pediatric Dentistry.

      18.    Dr. Gruenbaum is the owner of the Practice, which provides

comprehensive dental care to children from infancy through their teenage years.

      19.    Dr. Tamar Gruenbaum, DDS, owns dental practice Tamar Gruenbaum

DDS, LLC, d/b/a Ridgewood Valley Pediatric Dentistry.

      20.    Ackerman holds herself out as an expert business consultant in the

healthcare arena.

      21.    Ackerman is believed to be the Founder and CEO of APM.

      22.    In 2017, plaintiffs retained defendants to provide management and

consulting related services.

      23.    As part of plaintiffs’ retention of defendants’ services, the parties




                                           4
    Case 2:21-cv-18714 06/14/2021
      BER-L-003841-21    Document   1-1 Filed
                                  8:45:42     10/15/21
                                          PM Pg           Page
                                                5 of 15 Trans ID:8LCV20211437651
                                                                   of 282 PageID: 19




entered into a services contract—i.e., the Agreement. 1

                        Defendants’ Fraud and Unlawful Conduct

       24.     Plaintiff retained defendants based upon Ackerman’s representations

touting her skills, acumen, credentials, qualifications, and abilities as an expert

business consultant in the healthcare arena.

       25.     Ackerman also misrepresented the credentials, qualifications, and

abilities of APM.

       26.     Ackerman represented that APM was a successful ongoing business

when, in reality, it was not even registered as an active company with the State of

New York during her engagement with the Practice.

       27.     Ackerman misrepresented to Dr. Gruenbaum her successes improving

dental practices like Dr. Gruenbaum’s practice.

       28.     The Agreement required defendants to provide services to plaintiffs in

exchange for compensation.

       29.     Among other things, pursuant to the Agreement, defendants were

required to, inter alia, provide plaintiffs with expert guidance on a variety of issues,

including finances and marketing, team structure, clinical protocols, business

decisions and protocols, insurance billing and practices, and case acceptance

systems.




1Despite diligent inquiry, plaintiffs are not presently in possession of an executed copy of the
Agreement. By letter dated May 13, 2021, plaintiffs made demand upon defendants for a copy of the
same. As of the filing of this Complaint, defendants have not responded to plaintiffs’ letter or
demand for the Agreement.

                                                5
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21    Document   1-1 Filed
                                8:45:42     10/15/21
                                        PM Pg           Page
                                              6 of 15 Trans ID:9LCV20211437651
                                                                 of 282 PageID: 20




      30.    Defendants, however, failed to provide the services required under the

Agreement and to act in accordance with their common law obligations to plaintiffs.

      31.    Ackerman exceeded the scope of her engagement by botching the

Practice’s insurance participation and insurance billing protocols.

      32.    Ackerman indicated in insurance billing entries, and instructed others

to also indicate, that the Practice was in-network with Delta Dental PPO.

      33.    Ackerman retroactively modified numerous insurance billing entries

dated between February 2018 and March 2018 to reflect Delta Dental PPO

coverage.

      34.    Ackerman knew, should have known, or recklessly ignored that the

Practice’s contract was with Delta Dental’s Premier coverage only—not PPO.

      35.    Ackerman also incorrectly entered Aetna insurance billing codes.

      36.    Realizing her mistake and attempting to cover it up, Ackerman gained

access to the Practice’s billing software without authorization and deleted the entire

archive.

      37.    As a result of her insurance and billing related indiscretions,

Ackerman caused the practice to incur substantial monetary losses.

      38.    Ackerman was required to collaborate with Dr. Gruenbaum and guide

her in decision-making pertaining to the Practice. However, Ackerman failed to do

so.

      39.    Instead, Ackerman took actions that were beyond the scope of the

Agreement and/or without Dr. Gruenbaum’s authorization.



                                          6
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21   Document8:45:42
                                1-1 Filed 10/15/21
                                      PM Pg           Page
                                            7 of 15 Trans ID:10 of 282 PageID: 21
                                                              LCV20211437651




      40.    Ackerman duped Dr. Gruenbaum into changing the Practice’s third-

party vendors to those of her recommendation claiming that the Practice would gain

additional value by switching to her recommended vendors.

      41.    Based on Ackerman’s recommendations and false representations, Dr.

Gruenbaum agreed to change vendors for accounting and tax services, technology

services, and insurance negotiation services.

      42.    Ackerman recommended these vendors despite having knowledge of

their incompetence.

      43.    Ackerman recommended these vendors for the purposes of her own

financial benefit.

      44.    One of the most egregious examples being Ackerman’s

recommendation of an accounting firm, Levine & Associates LLC, whose services

were deficient and have resulted in IRS scrutiny and in connection with which

plaintiffs have suffered financial losses, fees, costs, expenses, and penalties.

      45.    Ackerman was required to engage in an appropriate level of

interaction with Practice staff for training and team building purposes. Ackerman

entirely failed to interact with them appropriately.

      46.    During onsite visits, Ackerman did not make herself available to

Practice staff and instead did work for and took phone calls from other clients.

      47.    Ackerman also harassed and abused staff, exposing the Practice to

employment related claims.




                                           7
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21   Document8:45:42
                                1-1 Filed 10/15/21
                                      PM Pg           Page
                                            8 of 15 Trans ID:11 of 282 PageID: 22
                                                              LCV20211437651




      48.    Ackerman exaggerated her position of authority in the Practice to third

parties. This included representing herself as “Practice Manager”.

      49.    Ackerman illicitly gained access to confidential information of the

Practice.

      50.    She established herself as a provider in the Practice’s insurance billing

system, obtained access to business and personal credit cards and bank accounts,

and obtained keys to the office and to the security camera system. Ackerman had

no authority to undertake any such action.

      51.    Ackerman failed to appropriately monitor billing and to timely collect

outstanding balances.

      52.    When Ackerman did set out to collect outstanding balances, her

conduct was aggressive and off-putting, causing significant patient attrition.

      53.    Ackerman caused Dr. Gruenbaum to sign up for the review system

“BirdEye” which Dr. Gruenbaum paid for only to subsequently learn that the

Practice had never actually been signed up by Ackerman and instead she had been

paying for the service for one of Ackerman’s other clients.

      54.    Because of defendants’ actions, the Practice’s performance declined

substantially, revenues decreased, overheard and other costs increased, and

plaintiffs incurred unnecessary financial losses.

      55.    Defendants failed to enhance the Practice’s business and did nothing to

help market the Practice.




                                          8
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21   Document8:45:42
                                1-1 Filed 10/15/21
                                      PM Pg           Page
                                            9 of 15 Trans ID:12 of 282 PageID: 23
                                                              LCV20211437651




      56.    As a result of defendants’ acts and omissions, plaintiffs have suffered

emotional distress and substantial monetary harm, including lost profits, loss of

goodwill, and out-of-pocket expenses, fees, and costs.

      57.    Defendants have been unjustly enriched, having received not less than

approximately $70,000 in connection with the Agreement.

                                     COUNT I
                                BREACH OF CONTRACT

      58.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      59.    Plaintiffs and defendants are parties to a valid and enforceable

contract, i.e., the Agreement.

      60.    Plaintiffs have performed under the Agreement.

      61.    By doing the things alleged herein, defendants have materially

breached his Agreement.

      62.    As a direct, proximate, and foreseeable result of defendants’ breaches

of contract, plaintiffs have suffered, and will continue to suffer, substantial damages

in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                               COUNT II
                 BREACH OF GOOD FAITH AND FAIR DEALING

      63.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.




                                          9
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21    Document   1-1 Filed
                                8:45:42     10/15/21
                                        PM Pg           PageID:
                                              10 of 15 Trans 13LCV20211437651
                                                                of 282 PageID: 24




       64.    By doing the things alleged herein, defendants have breached the duty

of good faith and fair dealing owed to plaintiffs.

       65.    As a direct, proximate, and foreseeable result of defendants’ breaches

of good faith and fair dealing, plaintiffs have suffered, and will continue to suffer,

substantial damages in an amount to be determined at trial.

       WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                   COUNT III
                           BREACH OF FIDUCIARY DUTY

       66.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

       67.    Under New Jersey law, a fiduciary relationship exists when one party

is under a duty to act for or give advice for the benefit of another on matters within

the scope of their relationship.

       68.    By virtue of the parties’ relationship, defendants owed fiduciary duties

to the plaintiffs.

       69.    By doing the things alleged herein, defendants have breached their

fiduciary duties of care and loyalty to plaintiffs.

       70.    As a direct, proximate, and foreseeable result of defendants’ breaches

of fiduciary duty, plaintiffs have suffered, and will continue to suffer, substantial

damages in an amount to be determined at trial.

       WHEREFORE, plaintiffs pray for relief as more fully set forth below.




                                            10
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21    Document   1-1 Filed
                                8:45:42     10/15/21
                                        PM Pg           PageID:
                                              11 of 15 Trans 14LCV20211437651
                                                                of 282 PageID: 25




                                    COUNT IV
                                   CONVERSION

      71.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      72.    By doing the things alleged herein, defendants converted the time,

money, resources, and other assets of the plaintiffs without privilege or

authorization and for their own improper purposes.

      73.    As a direct, proximate, and foreseeable result of defendants’

conversion, plaintiffs have suffered, and will continue to suffer, substantial

damages in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                     COUNT V
                                UNJUST ENRICHMENT

      74.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      75.    Defendants have and continue to benefit from their receipt of the

benefits and other compensation paid to them by the plaintiffs.

      76.    Defendants’ retention of said benefits constitutes unjust enrichment.

      77.    Accordingly, the Court should require defendants to return the benefits

bestowed upon them by the plaintiffs to the plaintiffs.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.




                                          11
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21    Document   1-1 Filed
                                8:45:42     10/15/21
                                        PM Pg           PageID:
                                              12 of 15 Trans 15LCV20211437651
                                                                of 282 PageID: 26




                                COUNT VI
                     FRAUD/FRAUDULENT CONCEALMENT

        78.   Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

        79.   Defendants knowingly misrepresented the truth and/or concealed

material facts to induce plaintiffs to act to their detriment.

        80.   As alleged herein, defendants misrepresented to Dr. Gruenbaum that

Ackerman was a qualified, experienced, competent, and diligent professional.

        81.   Reasonably relying on these misrepresentations, plaintiffs retained

defendants’ services.

        82.   Reasonably relying on these misrepresentations, plaintiffs retained

entered into the Agreement.

        83.   Additionally, defendants knowingly and intentionally concealed their

misconduct from plaintiffs for purposes of preventing them from uncovering the

truth of the same and continuing to reap the benefits that plaintiffs bestowed upon

them.

        84.   As a direct, proximate, and foreseeable result of defendants’ fraud and

fraudulent concealment, plaintiffs have suffered, and will continue to suffer,

substantial damages in an amount to be determined at trial.

        WHEREFORE, plaintiffs pray for relief as more fully set forth below.




                                           12
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21    Document   1-1 Filed
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                                        PM Pg           PageID:
                                              13 of 15 Trans 16LCV20211437651
                                                                of 282 PageID: 27




                                     COUNT VII
                                    NEGLIGENCE

      85.     Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      86.     Defendants owed plaintiffs a duty of care as an alleged healthcare

consultant.

      87.     By doing the things alleged herein, defendants breached their duty of

care, acted negligently, and otherwise deviated from the acceptable professional

standards attendant to an alleged healthcare consultant.

      88.     As a direct, proximate, and foreseeable result of defendants’

negligence, plaintiffs have suffered, and will continue to suffer, substantial damages

in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                PRAYER FOR RELIEF

      WHEREFORE, plaintiffs demand judgment against defendants as follows:

      (i)     compensatory and consequential damages in an amount to be

              determined at trial, against defendants, individually and/or jointly and

              severally as appropriate;

      (ii)    punitive damages;

      (iii)   reasonable attorney’s fees and costs;

      (iv)    pre- and post-judgment interest at the highest legal rate; and




                                          13
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21    Document   1-1 Filed
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                                        PM Pg           PageID:
                                              14 of 15 Trans 17LCV20211437651
                                                                of 282 PageID: 28




      (v)    for such other and further relief as the Court may deem equitable, just,

             and proper, including the award of costs and expenses incurred by

             plaintiffs in this action.

                                   JURY DEMAND

      Plaintiffs demand trial by a jury of twelve on all of the triable issues of this

Complaint, pursuant to NJ Court Rules 1:8-2(b) and 4:35-1(a).

                       DESIGNATION OF TRIAL COUNSEL

      Pursuant to NJ Court Rule 4:25-4, plaintiffs hereby designate Benjamin A.

Garber, Esq. as trial counsel in this matter.




                                          14
  Case 2:21-cv-18714 06/14/2021
    BER-L-003841-21    Document   1-1 Filed
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                                        PM Pg           PageID:
                                              15 of 15 Trans 18LCV20211437651
                                                                of 282 PageID: 29




                                  CERTIFICATIONS

      The undersigned hereby certifies that the matter in controversy is not the

subject of any other action pending in any Court or arbitration proceeding and no

other Court action or arbitration proceeding is contemplated. There is presently

pending one other action, at Docket No. C-154-19, in which one or more of the

parties to this action assert matters other than the matter in controversy herein.

      Other than the parties set forth in this complaint, I know of no other parties

that should be made a part of this lawsuit. I recognize my continuing obligation to

file and serve on all parties and the court an amended certification if there is a

change in the facts stated in this original certification.

      I certify that confidential personal identifiers have been redacted from

documents now submitted to the court and will be redacted from all documents

submitted in the future in accordance with Rule 1:38-7(b).

                                                Respectfully submitted,

Dated: June 14, 2021                            BRAVERMAN KASKEY GARBER PC

                                            BY: /s/ Benjamin A. Garber
                                               BENJAMIN A. GARBER, ESQUIRE
                                               One Liberty Place- 56th Floor
                                               1650 Market Street
                                               Philadelphia, Pennsylvania 19103
                                               Telephone: (215) 575-3800
                                               Facsimile: (215) 575-3801
                                                Attorneys for Plaintiffs




                                           15
       Case 2:21-cv-18714 06/14/2021
          BER-L-003841-21  Document8:45:42
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                                           PM Pg           Page
                                                  1 of 1 Trans ID:19 of 282 PageID: 30
                                                                   LCV20211437651




                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Shanalee Ackerman and
  Ackerman Practice Management, LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:             Ackerman Practice Management LLC c/o Shanalee Ackerman
Address of Defendant to Be Served: 1775             ork Ave., #32A, ew ork,                  10128



Revised 11/17/2014, CN 10792-English (Appendix XII-A)
   Case 2:21-cv-18714 06/14/2021
      BER-L-003841-21  Document8:45:42
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                                       PM Pg           Page
                                              1 of 2 Trans ID:20 of 282 PageID: 31
                                                               LCV20211437651




                        Civil Case Information Statement
Case Details: BERGEN | Civil Part Docket# L-003841-21

Case Caption: GRUENBAUM TAMAR VS ACKERMAN                        Case Type: CONTRACT/COMMERCIAL TRANSACTION
SHANALEE                                                         Document Type: NJ eCourts Case Initiation Confirmation
Case Initiation Date: 06/14/2021                                 Jury Demand: YES - 12 JURORS
Attorney Name: BENJAMIN ALEX GARBER                              Is this a professional malpractice case? NO
Firm Name: BRAVERMAN KASKEY PC                                   Related cases pending: NO
Address: 1650 MARKET STREET 56TH FL ONE LIBERTY                  If yes, list docket numbers:
PLACE                                                            Do you anticipate adding any parties (arising out of same
PHILADELPHIA PA 191037334                                        transaction or occurrence)? NO
Phone: 2155753800
Name of Party: PLAINTIFF : Gruenbaum, Tamar                      Are sexual abuse claims alleged by: Tamar Gruenbaum? NO

Name of Defendant’s Primary Insurance Company
(if known): Unknown                                              Are sexual abuse claims alleged by: Tamar Gruenbaum DDS, LLC?
                                                                 NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Business
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

06/14/2021                                                                                 /s/ BENJAMIN ALEX GARBER
Dated                                                                                                         Signed
Case 2:21-cv-18714 06/14/2021
   BER-L-003841-21  Document8:45:42
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                                    PM Pg           Page
                                           2 of 2 Trans ID:21 of 282 PageID: 32
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                                                  Pg 1 of 1 Trans ID:22 of 282 PageID: 33
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BERGEN COUNTY COURTHOUSE
SUPERIOR COURT LAW DIV
BERGEN COUNTY JUSTICE CTR RM 415
HACKENSACK       NJ 07601-7680
                                               TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (201) 221-0700
COURT HOURS 8:30 AM - 4:30 PM

                               DATE:   JUNE 15, 2021
                               RE:     GRUENBAUM TAMAR VS ACKERMAN SHANALEE
                               DOCKET: BER L -003841 21

      THE ABOVE CASE HAS BEEN ASSIGNED TO:     TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:     HON ROBERT C. WILSON

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM         002
AT:   (201) 527-2600.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: BENJAMIN A. GARBER
                                             BRAVERMAN KASKEY PC
                                             1650 MARKET STREET 56TH FL
                                             ONE LIBERTY PLACE
                                             PHILADELPHIA      PA 19103-7334

ECOURTS
 Case 2:21-cv-18714 07/09/2021
    BER-L-003841-21  Document5:13:07
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                                            1 of 2 Trans ID:23 of 282 PageID: 34
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                     Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                        BERGEN COUNTY
                Plaintiffs,
                                              Docket No. BER-L-003841-21
                v.
                                              AFFIDAVIT OF SERVICE BY
  SHANALEE ACKERMAN and                       CERTIFIED MAIL UPON
  ACKERMAN PRACTICE                           SHANALEE ACKERMAN
  MANAGEMENT, LLC,
              Defendants.

      I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6089), return receipt requested, postage prepaid, to defendant Shanalee

Ackerman (“Defendant”) at her residence located at 1775 York Avenue, #32A, New

York, New York 10128.

      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.
  Case 2:21-cv-18714 07/09/2021
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                                             2 of 2 Trans ID:24 of 282 PageID: 35
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      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Defendant’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                       __________________________________
                                       Domenic J. Marano, Paralegal




Dated: July 9, 2021                    BRAVERMAN KASKEY GARBER PC

                                 BY:    /s/ Benjamin A. Garber
                                       BENJAMIN A. GARBER, ESQUIRE
                                       One Liberty Place- 56th Floor
                                       1650 Market Street
                                       Philadelphia, Pennsylvania 19103
                                       Telephone: (215) 575-3800
                                       Facsimile: (215) 575-3801
                                       Attorneys for Plaintiffs




                                          2
Case 2:21-cv-18714 07/09/2021
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                                           1 of 2 Trans ID:25 of 282 PageID: 36
                                                            LCV20211625225




              EXHIBIT A
Case 2:21-cv-18714 07/09/2021
   BER-L-003841-21  Document5:13:07
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                                           2 of 2 Trans ID:26 of 282 PageID: 37
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                                           1 of 2 Trans ID:27 of 282 PageID: 38
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              EXHIBIT B
Case 2:21-cv-18714 07/09/2021
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     Case 2:21-cv-18714 07/09/2021
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                                                1 of 2 Trans ID:29 of 282 PageID: 40
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                              Attorney for Plaintiffs

     TAMAR GRUENBAUM; and
     TAMAR GRUENBAUM DDS, LLC,                      SUPERIOR COURT OF NEW
     d/b/a RIDGEWOOD VALLEY                         JERSEY, LAW DIVISION
     PEDIATRIC DENTISTRY,                           BERGEN COUNTY
                   Plaintiffs,
                                                    Docket No. BER-L-003841-21
                    v.
                                                    AFFIDAVIT OF SERVICE BY
     SHANALEE ACKERMAN and                          CERTIFIED MAIL UPON
     ACKERMAN PRACTICE                              ACKERMAN PRACTICE
     MANAGEMENT, LLC,                               MANAGEMENT, LLC
                 Defendants.

          I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6096), return receipt requested, postage prepaid, to defendant Ackerman

Practice Management, LLC (“Defendant”) in care of Shanalee Ackerman at Ms.

Ackerman’s residence located at 1775 York Avenue, #32A, New York, New York

10128. 1




1
    Ms. Ackerman is believed to be the Founder and CEO of Ackerman Practice Management, LLC.
  Case 2:21-cv-18714 07/09/2021
     BER-L-003841-21  Document5:15:56
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                                                              LCV20211625242




      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.

      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Ms. Ackerman’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                       __________________________________
                                       Domenic J. Marano, Paralegal




Dated: July 9, 2021                    BRAVERMAN KASKEY GARBER PC

                                 BY:    /s/ Benjamin A. Garber
                                       BENJAMIN A. GARBER, ESQUIRE
                                       One Liberty Place- 56th Floor
                                       1650 Market Street
                                       Philadelphia, Pennsylvania 19103
                                       Telephone: (215) 575-3800
                                       Facsimile: (215) 575-3801
                                       Attorneys for Plaintiffs



                                          2
Case 2:21-cv-18714 07/09/2021
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                                           1 of 2 Trans ID:31 of 282 PageID: 42
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              EXHIBIT A
Case 2:21-cv-18714 07/09/2021
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                                           2 of 2 Trans ID:32 of 282 PageID: 43
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Case 2:21-cv-18714 07/09/2021
   BER-L-003841-21  Document5:15:56
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                                           1 of 2 Trans ID:33 of 282 PageID: 44
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              EXHIBIT B
Case 2:21-cv-18714 07/09/2021
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                                           2 of 2 Trans ID:34 of 282 PageID: 45
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 Case 2:21-cv-18714 07/30/2021
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                                         Pg 1 of 2 Trans ID:35 of 282 PageID: 46
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                     Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                  SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                     JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                       BERGEN COUNTY
               Plaintiffs,
                                            Docket No. BER-L-003841-21
               v.
                                            REQUEST FOR ENTRY OF
 SHANALEE ACKERMAN and                      DEFAULT AGAINST
 ACKERMAN PRACTICE                          DEFENDANTS SHANALEE
 MANAGEMENT, LLC,                           ACKERMAN and ACKERMAN
             Defendants.                    PRACTICE MANAGEMENT, LLC


TO:   CLERK OF SUPERIOR COURT OF NEW JERSEY
      Civil Division Case Management Office
      Bergen County Justice Center
      10 Main Street, Room 415
      Hackensack, NJ 07601

      Please enter a default upon defendants Shanalee Ackerman and Ackerman

Practice Management, LLC (collectively, the “defendants”) for failure to plead or

otherwise defend as provided by the New Jersey Court Rules. A Certification in

Support of Default is attached hereto.

                                             Respectfully submitted,

Dated: July 30, 2021                         BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
Case 2:21-cv-18714 07/30/2021
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                                        Pg 2 of 2 Trans ID:36 of 282 PageID: 47
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                                          One Liberty Place- 56th Floor
                                          1650 Market Street
                                          Philadelphia, Pennsylvania 19103
                                          Telephone: (215) 575-3800
                                          Facsimile: (215) 575-3801
                                          Attorneys for Plaintiffs




                                      2
  Case 2:21-cv-18714 07/30/2021
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                                          Pg 1 of 2 Trans ID:37 of 282 PageID: 48
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                       Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY
               Plaintiffs,
                                             Docket No. BER-L-003841-21
               v.
                                             CERTIFICATION OF BENJAMIN A.
 SHANALEE ACKERMAN and                       GARBER, ESQUIRE IN SUPPORT
 ACKERMAN PRACTICE                           OF DEFAULT AGAINST
 MANAGEMENT, LLC,                            DEFENDANTS SHANALEE
             Defendants.                     ACKERMAN and ACKERMAN
                                             PRACTICE MANAGEMENT, LLC


      BENJAMIN A. GARBER, of full age, being duly sworn hereby certifies as

follows:

      1.     I am an attorney at law in the State of New Jersey and a member of

the law firm of Braverman Kaskey Garber, P.C.

      2.     I am familiar with the facts and circumstances of the within action.

      3.     The Summons and Complaint in this action were served upon

defendants Shanalee Ackerman and Ackerman Practice Management, LLC

(collectively, the “defendants”) on June 24, 2021, as appears from the Affidavits of

Service by U.S. Certified Mail filed and docketed on July 9, 2021. True and correct
  Case 2:21-cv-18714 07/30/2021
    BER-L-003841-21   Document10:26:01
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                                          Pg 2 of 2 Trans ID:38 of 282 PageID: 49
                                                              LCV20211779776




court-stamped copies of the Affidavits of Service upon the defendants are attached

hereto as Exhibit A.

      4.      The time within which the defendants may answer or otherwise move

as to the Complaint has expired and has not been extended. Defendants have not

answered or otherwise moved as to the Complaint.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.


                                              Respectfully submitted,

Dated: July 30, 2021                          BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                              Attorneys for Plaintiffs




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Case 2:21-cv-18714 07/30/2021
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                                       AM Pg          PageID:
                                             1 of 13 Trans 39LCV20211779776
                                                              of 282 PageID: 50




              EXHIBIT A
 Case 2:21-cv-18714 07/30/2021
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                     Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                        BERGEN COUNTY
                Plaintiffs,
                                              Docket No. BER-L-003841-21
                v.
                                              AFFIDAVIT OF SERVICE BY
  SHANALEE ACKERMAN and                       CERTIFIED MAIL UPON
  ACKERMAN PRACTICE                           SHANALEE ACKERMAN
  MANAGEMENT, LLC,
              Defendants.

      I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6089), return receipt requested, postage prepaid, to defendant Shanalee

Ackerman (“Defendant”) at her residence located at 1775 York Avenue, #32A, New

York, New York 10128.

      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.
  Case 2:21-cv-18714 07/30/2021
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      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Defendant’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                       __________________________________
                                       Domenic J. Marano, Paralegal




Dated: July 9, 2021                    BRAVERMAN KASKEY GARBER PC

                                 BY:    /s/ Benjamin A. Garber
                                       BENJAMIN A. GARBER, ESQUIRE
                                       One Liberty Place- 56th Floor
                                       1650 Market Street
                                       Philadelphia, Pennsylvania 19103
                                       Telephone: (215) 575-3800
                                       Facsimile: (215) 575-3801
                                       Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                              Attorney for Plaintiffs

     TAMAR GRUENBAUM; and
     TAMAR GRUENBAUM DDS, LLC,                      SUPERIOR COURT OF NEW
     d/b/a RIDGEWOOD VALLEY                         JERSEY, LAW DIVISION
     PEDIATRIC DENTISTRY,                           BERGEN COUNTY
                   Plaintiffs,
                                                    Docket No. BER-L-003841-21
                    v.
                                                    AFFIDAVIT OF SERVICE BY
     SHANALEE ACKERMAN and                          CERTIFIED MAIL UPON
     ACKERMAN PRACTICE                              ACKERMAN PRACTICE
     MANAGEMENT, LLC,                               MANAGEMENT, LLC
                 Defendants.

          I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6096), return receipt requested, postage prepaid, to defendant Ackerman

Practice Management, LLC (“Defendant”) in care of Shanalee Ackerman at Ms.

Ackerman’s residence located at 1775 York Avenue, #32A, New York, New York

10128. 1




1
    Ms. Ackerman is believed to be the Founder and CEO of Ackerman Practice Management, LLC.
  Case 2:21-cv-18714 07/30/2021
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      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.

      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Ms. Ackerman’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                       __________________________________
                                       Domenic J. Marano, Paralegal




Dated: July 9, 2021                    BRAVERMAN KASKEY GARBER PC

                                 BY:    /s/ Benjamin A. Garber
                                       BENJAMIN A. GARBER, ESQUIRE
                                       One Liberty Place- 56th Floor
                                       1650 Market Street
                                       Philadelphia, Pennsylvania 19103
                                       Telephone: (215) 575-3800
                                       Facsimile: (215) 575-3801
                                       Attorneys for Plaintiffs



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               EXHIBIT A
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                       Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY
               Plaintiffs,
                                             Docket No. BER-L-003841-21
               v.
                                             CERTIFICATION OF
 SHANALEE ACKERMAN and                       NON-MILITARY SERVICE
 ACKERMAN PRACTICE
 MANAGEMENT, LLC,
             Defendants.

      BENJAMIN A. GARBER, of full age, being duly sworn hereby certifies as

follows:

      1.     I am an attorney at law in the State of New Jersey and a member of

the law firm of Braverman Kaskey Garber, P.C.

      2.     I am familiar with the facts and circumstances of the within action.

      3.     To the best of my knowledge, information and belief, defendants

Shanalee Ackerman and Ackerman Practice Management, LLC (collectively, the

“defendants”) are not in the military service of the United States.
  Case 2:21-cv-18714 07/30/2021
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      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.


                                              Respectfully submitted,

Dated: July 30, 2021                          BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                              Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                       Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY
                Plaintiffs,
                                             Docket No. BER-L-003841-21
               v.
                                             PROOF OF MAILING
 SHANALEE ACKERMAN and
 ACKERMAN PRACTICE
 MANAGEMENT, LLC,
              Defendants.

      I hereby certify that on the 30th day of July, 2021, a true and correct copy of

the foregoing Request for Entry of Default was electronically filed with the Clerk of

the Court, is available for viewing and downloading from the Court’s electronic

filing system (eCourts System-Civil Part), and will be served by U.S. Certified Mail

and U.S. First-Class, postage prepaid upon the following:


Shanalee Ackerman
1775 York Avenue
#32A
New York, New York 10128

Ackerman Practice Management LLC
c/o Shanalee Ackerman
1775 York Avenue
#32A
New York, New York 10128
 Case 2:21-cv-18714 07/30/2021
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                                           Respectfully submitted,

Dated: July 30, 2021                       BRAVERMAN KASKEY GARBER PC

                                        BY: /s/ Benjamin A. Garber
                                           BENJAMIN A. GARBER, ESQUIRE
                                           One Liberty Place- 56th Floor
                                           1650 Market Street
                                           Philadelphia, Pennsylvania 19103
                                           Telephone: (215) 575-3800
                                           Facsimile: (215) 575-3801
                                           Attorneys for Plaintiffs




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  Case 2:21-cv-18714 08/04/2021
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                       Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY
               Plaintiffs,
                                             Docket No. BER-L-003841-21
               v.
                                             CERTIFICATION OF DILIGENT
 SHANALEE ACKERMAN and                       INQUIRY AS TO DEFENDANTS
 ACKERMAN PRACTICE                           SHANALEE ACKERMAN AND
 MANAGEMENT, LLC,                            ACKERMAN PRACTICE
             Defendants.                     MANAGEMENT, LLC


      BENJAMIN A. GARBER, of full age, upon his Certification, says:

      1.     I am an attorney at law of the State of New Jersey, and a member of

the law firm of Braverman Kaskey Garber P.C., attorneys for plaintiffs Tamar

Gruenbaum and Tamar Gruenbaum DDS, LLC, d/b/a Ridgewood Valley Pediatric

Dentistry (collectively “Plaintiffs”) in the above captioned matter. I have personal

knowledge of the facts contained on this Certification.

      2.     I make this Certification pursuant to R. 4:4-4(b)(1), as supplement to

and in support of Plaintiffs’ Request for Entry of Default filed on July 30, 2021,

(ID#LCV20211779776).
  Case 2:21-cv-18714 08/04/2021
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      3.     On June 16, 2021, I employed the services of Guaranteed Subpoena

Service, Inc. (“Guaranteed”) to personally hand deliver and serve the summons,

track assignment notice, civil case information statement, and complaint

(collectively “the papers”) upon defendants Shanalee Ackerman and Ackerman

Practice Management, LLC (collectively “Defendants”) at their last known address

at 1775 York Avenue, #32A, New York, New York 10128 (the “premises”). A true

and correct copy of my firm’s request to Guaranteed is attached hereto as Exhibit A.

      4.     On June 17, 2021, Guaranteed attempted hand delivery service of the

papers upon the Defendants and was unable to do so on account of the doorman to

the apartment/condominium building refusing to allow Guaranteed to enter the

premises, as well as not calling the Defendants to inform them of the service of the

papers by Guaranteed. True and correct copies of Guaranteed’s Affidavits of

Attempted Service upon the Defendants are attached hereto as Exhibit B.

      5.     Subsequently, in accordance with R. 4:4-4(b)(1), Plaintiffs served the

papers upon the Defendants by U.S. Certified Mail. True and correct copies of

Affidavits of Service by Certified Mail filed with the Court on July 9, 2021 are

attached hereto as Exhibit C.

      6.     Accordingly, Plaintiffs’ request the Court to enter a default upon the

Defendants as provided by the New Jersey Court Rules.




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  Case 2:21-cv-18714 08/04/2021
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      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.



                                              Respectfully submitted,

Dated: August 4, 2021                         BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                              Attorneys for Plaintiffs




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Case 2:21-cv-18714 08/04/2021
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              EXHIBIT A
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From:              Domenic Marano
To:                "Legal@Served.com"
Subject:           RE: 24 TO 48 HOUR RUSH
Date:              Wednesday, June 16, 2021 8:57:00 AM
Attachments:       Ackerman Complaint SERVICE COPY (Shanalee Ackerman) 061421.pdf
                   Ackerman Complaint SERVICE COPY (Ackerman Practice Management LLC) 061421.pdf
Importance:        High


June 16, 2021

Tamar Gruenbaum et al. v. Shanalee Ackerman et al.
New Jersey Superior Court, Bergen County
Docket No. BER-L-003841-21

ATTENTION: SANDY – OUT-OF-STATE SERVICE

As discussed, I am attaching 2 copies of a New Jersey Superior Court
Complaint to be served upon defendants 1) Shanalee Ackerman and 2)
Ackerman Practice Management, LLC.

The addresses for both defendants (shown on the summonses) is the same
for service -

1775 York Avenue
#32A
New York, New York 10128

Each attachment contains a summons per defendant, track assignment
notice, civil case information statement, and the complaint.

We would like 24 to 48 hour service for each defendant.

Please provide me with status updates as much as you can.

My contact information follows.

Thanks again.

Dom.

Domenic Marano
Paralegal
d 215.575.3805 / c 856.304.3746




One Liberty Place, 56th Floor
1650 Market Street
 Case 2:21-cv-18714 08/04/2021
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Philadelphia, PA 19103-7334
p 215.575.3800 / f 215.575.3801
braverlaw.com
Case 2:21-cv-18714 08/04/2021
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              EXHIBIT B
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              EXHIBIT C
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                      Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                        BERGEN COUNTY
                Plaintiffs,
                                              Docket No. BER-L-003841-21
                v.
                                              AFFIDAVIT OF SERVICE BY
  SHANALEE ACKERMAN and                       CERTIFIED MAIL UPON
  ACKERMAN PRACTICE                           SHANALEE ACKERMAN
  MANAGEMENT, LLC,
              Defendants.

      I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6089), return receipt requested, postage prepaid, to defendant Shanalee

Ackerman (“Defendant”) at her residence located at 1775 York Avenue, #32A, New

York, New York 10128.

      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.
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      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Defendant’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                        __________________________________
                                        Domenic J. Marano, Paralegal




Dated: July 9, 2021                     BRAVERMAN KASKEY GARBER PC

                                 BY:     /s/ Benjamin A. Garber
                                        BENJAMIN A. GARBER, ESQUIRE
                                        One Liberty Place- 56th Floor
                                        1650 Market Street
                                        Philadelphia, Pennsylvania 19103
                                        Telephone: (215) 575-3800
                                        Facsimile: (215) 575-3801
                                        Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                              Attorney for Plaintiffs

     TAMAR GRUENBAUM; and
     TAMAR GRUENBAUM DDS, LLC,                      SUPERIOR COURT OF NEW
     d/b/a RIDGEWOOD VALLEY                         JERSEY, LAW DIVISION
     PEDIATRIC DENTISTRY,                           BERGEN COUNTY
                   Plaintiffs,
                                                    Docket No. BER-L-003841-21
                    v.
                                                    AFFIDAVIT OF SERVICE BY
     SHANALEE ACKERMAN and                          CERTIFIED MAIL UPON
     ACKERMAN PRACTICE                              ACKERMAN PRACTICE
     MANAGEMENT, LLC,                               MANAGEMENT, LLC
                 Defendants.

          I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6096), return receipt requested, postage prepaid, to defendant Ackerman

Practice Management, LLC (“Defendant”) in care of Shanalee Ackerman at Ms.

Ackerman’s residence located at 1775 York Avenue, #32A, New York, New York

10128. 1




1
    Ms. Ackerman is believed to be the Founder and CEO of Ackerman Practice Management, LLC.
  Case 2:21-cv-18714 08/04/2021
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      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.

      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Ms. Ackerman’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                        __________________________________
                                        Domenic J. Marano, Paralegal




Dated: July 9, 2021                     BRAVERMAN KASKEY GARBER PC

                                 BY:     /s/ Benjamin A. Garber
                                        BENJAMIN A. GARBER, ESQUIRE
                                        One Liberty Place- 56th Floor
                                        1650 Market Street
                                        Philadelphia, Pennsylvania 19103
                                        Telephone: (215) 575-3800
                                        Facsimile: (215) 575-3801
                                        Attorneys for Plaintiffs



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              EXHIBIT B
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 Case 2:21-cv-18714 08/18/2021
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                    Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                 SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                    JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                      BERGEN COUNTY

                     Plaintiffs,            Docket No. BER-L-003841-21

                v.

  SHANALEE ACKERMAN                         NOTICE OF MOTION FOR ENTRY
  and                                       OF DEFAULT JUDGMENT
  ACKERMAN PRACTICE
  MANAGEMENT, LLC,

                     Defendants.


TO:   Shanalee Ackerman
      Ackerman Practice Management LLC
      c/o Shanalee Ackerman
      1775 York Avenue, #32A
      New York, New York 10128

      PLEASE TAKE NOTICE that the undersigned counsel for Plaintiffs, will

apply to the Superior Court of New Jersey, Bergen County, 10 Main St,

Hackensack, NJ 07601, New Jersey on September 10, 2021, at 9:00 a.m. or as soon

thereafter as counsel can be heard, for an Order entering default judgment

pursuant to R. 4:43-2(a) against defendants Shanalee Ackerman and Ackerman

Practice Management, LLC.
  Case 2:21-cv-18714 08/18/2021
     BER-L-003841-21  Document3:49:48
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                                             2 of 3 Trans ID:79 of 282 PageID: 90
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      PLEASE TAKE FURTHER NOTICE, that in support of their Motion,

plaintiffs shall rely upon the Certification of Amount Due and Non-Military Service

of Tamar Gruenbaum, and Certification of Benjamin A. Garber, Esquire. A

proposed form of Order is submitted.

      PLEASE TAKE FURTHER NOTICE that pursuant to R. 1: 6-2(d) the

undersigned waives oral argument.

      PLEASE TAKE FURTHER NOTICE that the relief requested may be

granted unless opposition papers are timely filed and served upon counsel for

plaintiffs no later than 8 days before the return date of the motion unless the court

relaxes that time.

                                              Respectfully submitted,

Dated: August 18, 2021                        BRAVERMAN KASKEY GARBER PC

                                           BY: /s/ Benjamin A. Garber
                                              BENJAMIN A. GARBER, ESQUIRE
                                              One Liberty Place- 56th Floor
                                              1650 Market Street
                                              Philadelphia, Pennsylvania 19103
                                              Telephone: (215) 575-3800
                                              Facsimile: (215) 575-3801
                                              Attorneys for Plaintiffs




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 Case 2:21-cv-18714 08/18/2021
    BER-L-003841-21  Document3:49:48
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                                            3 of 3 Trans ID:80 of 282 PageID: 91
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                            CERTIFICATION OF SERVICE

      I hereby certify that on the date below, the within Notice of Motion,

Certification of Amount Due and Non-Military Service of Tamar Gruenbaum,

Certification of Benjamin A. Garber, Esquire, and proposed form of Order were filed

and served by U.S. Certified Mail and U.S. First-Class Mail, postage prepaid, upon

the following defendants:

                                Shanalee Ackerman
                              1775 York Avenue, #32A
                             New York, New York 10128

                         Ackerman Practice Management LLC
                               c/o Shanalee Ackerman
                              1775 York Avenue, #32A
                             New York, New York 10128


      I hereby certify that the foregoing statements made by me are true. I am

aware that if any of the foregoing statements made by me are willfully false, I am

subject to punishment.


                                             Respectfully submitted,

Dated: August 18, 2021                       BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                             Attorneys for Plaintiffs




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 Case 2:21-cv-18714 08/18/2021
    BER-L-003841-21  Document3:49:48
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                    Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                 SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                    JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                      BERGEN COUNTY

                     Plaintiffs,            Docket No. BER-L-003841-21

                v.

  SHANALEE ACKERMAN                         FINAL JUDGMENT BY DEFAULT
  and
  ACKERMAN PRACTICE
  MANAGEMENT, LLC,

                     Defendants.

      THIS MATTER having been presented to the Court by Braverman Kaskey

Garber PC, attorneys for plaintiffs, Tamar Gruenbaum, DDS and Tamar

Gruenbaum DDS, LLC d/b/a Ridgewood Valley Pediatric Dentistry, for entry of

Final Judgment by Default pursuant to R. 4:43-2 against defendants Shanalee

Ackerman and Ackerman Practice Management, LLC, (collectively, the

“defendants”); and defendants having been served with the Summons and

Complaint in this action; and defendants having failed to properly answer the

Complaint or otherwise move as to the Complaint; and default having been properly

entered against defendants on August 17, 2021; and defendants having been served
  Case 2:21-cv-18714 08/18/2021
     BER-L-003841-21  Document3:49:48
                                1-1 Filed 10/15/21
                                      PM Pg           Page
                                             2 of 2 Trans ID:82 of 282 PageID: 93
                                                              LCV20211916798




with a copy of the default entered against them; and the Court having considered

the Certification of Amount Due and Non-Military Service of Tamar Gruenbaum

and Certification of Counsel; and it further appearing that good cause has been

shown for the entry of this Judgment,

        It is on this ____ day of ____________, 2021, ORDERED as follows:

        1.    JUDGMENT by default as authorized by R. 4:43-2(b) is entered in

favor of plaintiffs, Tamar Gruenbaum, DDS and Tamar Gruenbaum DDS, LLC

d/b/a Ridgewood Valley Pediatric Dentistry, and against defendants Shanalee

Ackerman and Ackerman Practice Management, LLC, in the amount of

$360,054.91, together with pre-judgment and post-judgment interest and costs of

suit.

        2.    A copy of this Judgment shall be served on defendants by regular mail

within seven (7) days of receipt by plaintiffs’ counsel in accordance with Rule 4:43-

2(c).

                                        BY THE COURT:


                                        _____________________
                                                          J.

This motion was:

OPPOSED: ____

UNOPPOSED: ____
  Case 2:21-cv-18714 08/18/2021
     BER-L-003841-21  Document3:49:48
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                                      PM Pg           Page
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                      Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                  SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                     JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                       BERGEN COUNTY

                     Plaintiffs,             Docket No. BER-L-003841-21

                v.                           CERTIFICATION OF BENJAMIN A.
                                             GARBER, ESQUIRE PER R. 4:43-2
  SHANALEE ACKERMAN                          FOR FINAL JUDGMENT BY
  and                                        DEFAULT AGAINST
  ACKERMAN PRACTICE                          DEFENDANTS SHANALEE
  MANAGEMENT, LLC,                           ACKERMAN AND ACKERMAN
                                             PRACTICE MANAGEMENT, LLC
                     Defendants.

      I, Benjamin A. Garber, Esquire, counsel for plaintiffs, hereby certifies as

follows:

      1.     I am counsel to Plaintiffs Tamar Gruenbaum, DDS (“Dr. Gruenbaum”)

and Tamar Gruenbaum DDS, LLC d/b/a Ridgewood Valley Pediatric Dentistry.

      2.     Plaintiffs seek a Final Judgment by Default against defendants

Shanalee Ackerman and Ackerman Practice Management, LLC, (collectively, the

“defendants”), pursuant to R. 4:43-2.

      3.     The Summons and Complaint in this action were served by U.S.

Certified Mail, return receipt requested, postage prepaid upon defendants on June
    Case 2:21-cv-18714 08/18/2021
       BER-L-003841-21  Document3:49:48
                                  1-1 Filed 10/15/21
                                        PM Pg           Page
                                               2 of 6 Trans ID:84 of 282 PageID: 95
                                                                LCV20211916798




21, 2021, and which were delivered on June 24, 2021, as appears from the Affidavits

of Service from Domenic J. Marano, paralegal, filed and docketed on July 9, 2021.

        4.     True and correct court-stamped copies of the Affidavits of Service upon

the defendants are attached hereto as Exhibit “1”. 1

        5.     The time within which the defendants may answer or otherwise move

as to the Complaint expired.

        6.     Defendants failed to timely answer or otherwise move as to the

Complaint.

        7.     On July 30, 2021, plaintiffs filed a Request for Default, a true and

correct court-stamped copy is attached hereto as Exhibit “3”.

        8.     Defendants were served the Request for Default by regular mail and

certified mail on July 30, 2021; the certified mail was delivered on August 2, 2021.

True and correct copies of service documents are attached hereto as Exhibit “4”.

        9.     Accordingly, on August 17, 2021, a default was entered against each of

the defendants per R. 4:43-1.

        10.    Rule 4:43-2 allows a court to enter final judgment by default upon

motion by the party entitled to a judgment by default. The final judgment shall not

be different in kind, nor exceed the amount demanded in the pleading. A judgment

by default must be entered after a default, pursuant to Rule 4:43-1.

        11.    “If, to enable the court to enter judgment . . . it is necessary to take an


1Service of the Summons and Complaint were made by U.S. Certified Mail upon the Defendants on
account of Defendants’ refusal of service by hand delivery on June 17, 2021. See Plaintiffs’
Certification of Diligent Inquiry, filed and docketed on August 4, 2021, a true and correct court-
stamped copy of which is attached hereto as Exhibit “2”.

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  Case 2:21-cv-18714 08/18/2021
     BER-L-003841-21  Document3:49:48
                                1-1 Filed 10/15/21
                                      PM Pg           Page
                                             3 of 6 Trans ID:85 of 282 PageID: 96
                                                              LCV20211916798




account or to determine the amount of damages or to establish the truth of any

allegation by evidence or to make an investigation of any other matter, the court, on

its own motion . . . may conduct such proof hearings . . . as it deems appropriate.” R

4:43-2(b).

      12.        Plaintiffs’ Complaint asserts the following causes of action:

             •   Count I – Breach of Contract
             •   Count II – Breach of Good Faith and Fair Dealing
             •   Count III – Breach of Fiduciary Duty
             •   Count IV – Conversion
             •   Count V – Unjust Enrichment
             •   Count VI – Fraud/Fraudulent Inducement
             •   Count VII – Negligence

      13.        A copy of the Complaint is attached hereto as Exhibit “5.”

      14.        Per the Certification of Dr. Gruenbaum filed contemporaneously

herewith and incorporated herein by reference, plaintiffs have sustained losses as a

result of the conduct complained of in the Complaint and for which defendants are

liable, which include:

      A.         Loss of insurance reimbursement for dental services provided to clients

                 from Delta Dental PPO in the amount of $127,626 due to defendants’

                 direction to staff that the dental practice was in-network with Delta

                 Dental PPO when it was not and defendants’ modification of insurance

                 billing entries to reflect Delta Dental PPO coverage, when the entries

                 were not covered.




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Case 2:21-cv-18714 08/18/2021
   BER-L-003841-21  Document3:49:48
                              1-1 Filed 10/15/21
                                    PM Pg           Page
                                           4 of 6 Trans ID:86 of 282 PageID: 97
                                                            LCV20211916798




    B.    Loss of insurance reimbursement for dental services provided to clients

          from Aetna in the amount of $18,729 due to defendants’ incorrect entry

          of billing codes.

    C.    Loss of business revenue in 2018 and 2019 totaling $108,243 due to

          defendants’ failures to monitor billing and to timely collect outstanding

          balances.

    D.    Return of the payment to defendants of $67,000 paid under the

          Ackerman services contract that defendants breached as a result of

          their flawed consulting services.

    E.    Professional fees paid to Five Lakes Insurance in the amount of $7,120

          due to defendants’ faulty recommendation to engage them for

          insurance negotiation services that were not actually furnished or of no

          benefit, despite knowledge of their incompetence.

    F.    Professional fees paid to Integrate Ideas in the amount of $7,188 due to

          defendants’ faulty recommendation to engage them for marketing

          services that were not actually furnished or of no benefit, despite

          knowledge of their incompetence.

    G.    Professional fees paid to Soft Fusion IT in the amount of $3,612.23 due

          to defendants’ faulty recommendation to engage them for IT services

          that were not actually furnished or of no benefit, despite knowledge of

          their incompetence.




                                       4
  Case 2:21-cv-18714 08/18/2021
     BER-L-003841-21  Document3:49:48
                                1-1 Filed 10/15/21
                                      PM Pg           Page
                                             5 of 6 Trans ID:87 of 282 PageID: 98
                                                              LCV20211916798




      H.     Temporary agency fees paid in the amount of $18,036.68 for employees

             hired to fix the mistakes caused by defendants.

      I.     Professional fees paid to O’Brien Creative Group in the amount of

             $2,500 for IT services necessary to repair the faulty website designed

             by defendants.

      15.    The total of plaintiffs’ losses, which are continuing in nature, as

calculated for present purposes, is $360,054.91.

      16.    Pursuant to Rule 4:42-11(a)(iii), the post-judgment annual rate of

interest for judgments exceeding the monetary limit of the Special Civil Part at the

time of entry for calendar year 2021 (commencing January 1, 2021) is 3.50%.

      17.    Pursuant to R. 4:42-11(b), pre-judgment interest rates in tort actions

after January 1, 1988, are the same as the post-judgment interest rates.

      18.    “Barring unusual circumstances, an award of prejudgment interest for

breach of contract cases should be made in accordance with New Jersey Court Rule

4:42-11.” Corestar Int’l PTE. Ltd v. LPB Communs., Inc., 2007 U.S. Dist. LEXIS

75324, *11, 2007 WL 2990896.

      19.    Against the foregoing, plaintiffs request that the Court enter the

proposed order submitted herewith entering final judgment by default in favor of

plaintiffs and against the defendants, jointly and severally, in the principal amount

of $360,054.91 plus pre and post judgment interest, and costs of suit.




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 Case 2:21-cv-18714 08/18/2021
    BER-L-003841-21  Document3:49:48
                               1-1 Filed 10/15/21
                                     PM Pg           Page
                                            6 of 6 Trans ID:88 of 282 PageID: 99
                                                             LCV20211916798




                                           Respectfully submitted,

Dated: August 18, 2021                     BRAVERMAN KASKEY GARBER PC

                                        BY: /s/ Benjamin A. Garber
                                           BENJAMIN A. GARBER, ESQUIRE
                                           One Liberty Place, 56th Floor
                                           1650 Market Street
                                           Philadelphia, Pennsylvania 19103
                                           Telephone: (215) 575-3800
                                           Facsimile: (215) 575-3801
                                           Attorneys for Plaintiffs




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 CaseBER-L-003841-21
      2:21-cv-18714 Document    1-1 Filed
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                      Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                  SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                     JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                       BERGEN COUNTY

                    Plaintiffs,             Docket No. BER-L-003841-21

               v.

 SHANALEE ACKERMAN
 and
 ACKERMAN PRACTICE
 MANAGEMENT, LLC,

                    Defendants.

                            CERTIFICATION OF SERVICE

      I hereby certify that on the date below, the within Notice of Motion,

Certification of Amount Due and Non-Military Service of Tamar Gruenbaum,

Certification of Benjamin A. Garber, Esquire, and proposed form of Order were filed

and served by U.S. Certified Mail and U.S. First-Class Mail, postage prepaid, upon

the following defendants:

                                Shanalee Ackerman
                              1775 York Avenue, #32A
                             New York, New York 10128
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      2:21-cv-18714 Document    1-1 Filed
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                                           Pg 2 of 2 Trans      of 282 PageID: 101




                         Ackerman Practice Management LLC
                               c/o Shanalee Ackerman
                              1775 York Avenue, #32A
                             New York, New York 10128



      I hereby certify that the foregoing statements made by me are true. I am

aware that if any of the foregoing statements made by me are willfully false, I am

subject to punishment.


                                             Respectfully submitted,

Dated: August 18, 2021                       BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                             Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                        Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                    SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                       JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                         BERGEN COUNTY

                      Plaintiffs,              Docket No. BER-L-003841-21

                v.                             CERTIFICATION OF AMOUNT
                                               DUE AND NON-MILITARY
  SHANALEE ACKERMAN                            SERVICE
  and
  ACKERMAN PRACTICE
  MANAGEMENT, LLC,

                      Defendants.

      TAMAR GRUENBAUM, of full age, hereby certifies and says:

      1.     I am a plaintiff in the above-captioned action and am the sole member

of plaintiff Tamar Gruenbaum DDS, LLC d/b/a Ridgewood Valley Pediatric

Dentistry. I have personal knowledge of the facts set forth herein and I am

authorized to make this Certification in support of plaintiffs’ application for entry of

a default judgment against defendants Shanalee Ackerman and Ackerman Practice

Management, LLC, (collectively, the “defendants”), in the amount of $360,054.91.

      2.     I am the owner of a local pediatric dental practice, Tamar Gruenbaum

DDS, LLC d/b/a Ridgewood Valley Pediatric Dentistry.
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      3.     Defendants were engaged for purposes of providing management and

consulting related services.

      4.     Among other things, defendants agreed to provide expert guidance on

a variety of issues including practice finances and marketing, team structure,

clinical protocols, business decisions and protocols, insurance billing and practices,

and case acceptance systems.

      5.     However, defendants’ services were utterly deficient, as set forth in the

allegations of the Complaint incorporated herein by reference.

      6.     Plaintiffs have sustained losses as a result of the conduct complained

of in the Complaint and for which defendants are liable, which include:

      A.     Loss of insurance reimbursement for dental services provided to clients

             from Delta Dental PPO in the amount of $127,626 due to defendants’

             direction to staff that the dental practice was in-network with Delta

             Dental PPO when it was not and defendants’ modification of insurance

             billing entries to reflect Delta Dental PPO coverage, when the entries

             were not covered.

      B.     Loss of insurance reimbursement for dental services provided to clients

             from Aetna in the amount of $18,729 due to defendants’ incorrect entry

             of billing codes.

      C.     Loss of business revenue in 2018 and 2019 totaling $108,243 due to

             defendants’ failures to monitor billing and to timely collect outstanding

             balances.



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      D.     Return of the payment to defendants of $67,000 paid under the

             Ackerman services contract that defendants breached as a result of

             their flawed consulting services.

      E.     Professional fees paid to Five Lakes Insurance in the amount of $7,120

             due to defendants’ faulty recommendation to engage them for

             insurance negotiation services that were not actually furnished or of no

             benefit, despite knowledge of their incompetence.

      F.     Professional fees paid to Integrate Ideas in the amount of $7,188 due to

             defendants’ faulty recommendation to engage them for marketing

             services that were not actually furnished or of no benefit, despite

             knowledge of their incompetence.

      G.     Professional fees paid to Soft Fusion IT in the amount of $3,612.23 due

             to defendants’ faulty recommendation to engage them for IT services

             that were not actually furnished or of no benefit, despite knowledge of

             their incompetence.

      H.     Temporary agency fees paid in the amount of $18,036.68 for employees

             hired to fix the mistakes caused by defendants.

      I.     Professional fees paid to O’Brien Creative Group in the amount of

             $2,500 for IT services necessary to repair the faulty website designed

             by defendants.

      7.     The total of plaintiffs’ losses, which are continuing in nature, as

calculated for present purposes, is $360,054.91.



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      8.     This claim is not based directly or indirectly upon sale of a chattel

wherein the chattel has been repossessed peaceably or by legal process.

      9.     The Defendants named herein are not an infant or incompetent person.

      10.    Defendant Shanalee Ackerman is not in the military service of the

United States or its allies.




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                     Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                        BERGEN COUNTY
                Plaintiffs,
                                              Docket No. BER-L-003841-21
                v.
                                              AFFIDAVIT OF SERVICE BY
  SHANALEE ACKERMAN and                       CERTIFIED MAIL UPON
  ACKERMAN PRACTICE                           SHANALEE ACKERMAN
  MANAGEMENT, LLC,
              Defendants.

      I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6089), return receipt requested, postage prepaid, to defendant Shanalee

Ackerman (“Defendant”) at her residence located at 1775 York Avenue, #32A, New

York, New York 10128.

      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.
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      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Defendant’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                       __________________________________
                                       Domenic J. Marano, Paralegal




Dated: July 9, 2021                    BRAVERMAN KASKEY GARBER PC

                                 BY:    /s/ Benjamin A. Garber
                                       BENJAMIN A. GARBER, ESQUIRE
                                       One Liberty Place- 56th Floor
                                       1650 Market Street
                                       Philadelphia, Pennsylvania 19103
                                       Telephone: (215) 575-3800
                                       Facsimile: (215) 575-3801
                                       Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                              Attorney for Plaintiffs

     TAMAR GRUENBAUM; and
     TAMAR GRUENBAUM DDS, LLC,                      SUPERIOR COURT OF NEW
     d/b/a RIDGEWOOD VALLEY                         JERSEY, LAW DIVISION
     PEDIATRIC DENTISTRY,                           BERGEN COUNTY
                   Plaintiffs,
                                                    Docket No. BER-L-003841-21
                    v.
                                                    AFFIDAVIT OF SERVICE BY
     SHANALEE ACKERMAN and                          CERTIFIED MAIL UPON
     ACKERMAN PRACTICE                              ACKERMAN PRACTICE
     MANAGEMENT, LLC,                               MANAGEMENT, LLC
                 Defendants.

          I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6096), return receipt requested, postage prepaid, to defendant Ackerman

Practice Management, LLC (“Defendant”) in care of Shanalee Ackerman at Ms.

Ackerman’s residence located at 1775 York Avenue, #32A, New York, New York

10128. 1




1
    Ms. Ackerman is believed to be the Founder and CEO of Ackerman Practice Management, LLC.
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      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.

      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Ms. Ackerman’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                       __________________________________
                                       Domenic J. Marano, Paralegal




Dated: July 9, 2021                    BRAVERMAN KASKEY GARBER PC

                                 BY:    /s/ Benjamin A. Garber
                                       BENJAMIN A. GARBER, ESQUIRE
                                       One Liberty Place- 56th Floor
                                       1650 Market Street
                                       Philadelphia, Pennsylvania 19103
                                       Telephone: (215) 575-3800
                                       Facsimile: (215) 575-3801
                                       Attorneys for Plaintiffs



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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                       Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY
               Plaintiffs,
                                             Docket No. BER-L-003841-21
               v.
                                             CERTIFICATION OF DILIGENT
 SHANALEE ACKERMAN and                       INQUIRY AS TO DEFENDANTS
 ACKERMAN PRACTICE                           SHANALEE ACKERMAN AND
 MANAGEMENT, LLC,                            ACKERMAN PRACTICE
             Defendants.                     MANAGEMENT, LLC


      BENJAMIN A. GARBER, of full age, upon his Certification, says:

      1.     I am an attorney at law of the State of New Jersey, and a member of

the law firm of Braverman Kaskey Garber P.C., attorneys for plaintiffs Tamar

Gruenbaum and Tamar Gruenbaum DDS, LLC, d/b/a Ridgewood Valley Pediatric

Dentistry (collectively “Plaintiffs”) in the above captioned matter. I have personal

knowledge of the facts contained on this Certification.

      2.     I make this Certification pursuant to R. 4:4-4(b)(1), as supplement to

and in support of Plaintiffs’ Request for Entry of Default filed on July 30, 2021,

(ID#LCV20211779776).
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      3.     On June 16, 2021, I employed the services of Guaranteed Subpoena

Service, Inc. (“Guaranteed”) to personally hand deliver and serve the summons,

track assignment notice, civil case information statement, and complaint

(collectively “the papers”) upon defendants Shanalee Ackerman and Ackerman

Practice Management, LLC (collectively “Defendants”) at their last known address

at 1775 York Avenue, #32A, New York, New York 10128 (the “premises”). A true

and correct copy of my firm’s request to Guaranteed is attached hereto as Exhibit A.

      4.     On June 17, 2021, Guaranteed attempted hand delivery service of the

papers upon the Defendants and was unable to do so on account of the doorman to

the apartment/condominium building refusing to allow Guaranteed to enter the

premises, as well as not calling the Defendants to inform them of the service of the

papers by Guaranteed. True and correct copies of Guaranteed’s Affidavits of

Attempted Service upon the Defendants are attached hereto as Exhibit B.

      5.     Subsequently, in accordance with R. 4:4-4(b)(1), Plaintiffs served the

papers upon the Defendants by U.S. Certified Mail. True and correct copies of

Affidavits of Service by Certified Mail filed with the Court on July 9, 2021 are

attached hereto as Exhibit C.

      6.     Accordingly, Plaintiffs’ request the Court to enter a default upon the

Defendants as provided by the New Jersey Court Rules.




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      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.



                                              Respectfully submitted,

Dated: August 4, 2021                         BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                              Attorneys for Plaintiffs




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From:              Domenic Marano
To:                "Legal@Served.com"
Subject:           RE: 24 TO 48 HOUR RUSH
Date:              Wednesday, June 16, 2021 8:57:00 AM
Attachments:       Ackerman Complaint SERVICE COPY (Shanalee Ackerman) 061421.pdf
                   Ackerman Complaint SERVICE COPY (Ackerman Practice Management LLC) 061421.pdf
Importance:        High


June 16, 2021

Tamar Gruenbaum et al. v. Shanalee Ackerman et al.
New Jersey Superior Court, Bergen County
Docket No. BER-L-003841-21

ATTENTION: SANDY – OUT-OF-STATE SERVICE

As discussed, I am attaching 2 copies of a New Jersey Superior Court
Complaint to be served upon defendants 1) Shanalee Ackerman and 2)
Ackerman Practice Management, LLC.

The addresses for both defendants (shown on the summonses) is the same
for service -

1775 York Avenue
#32A
New York, New York 10128

Each attachment contains a summons per defendant, track assignment
notice, civil case information statement, and the complaint.

We would like 24 to 48 hour service for each defendant.

Please provide me with status updates as much as you can.

My contact information follows.

Thanks again.

Dom.

Domenic Marano
Paralegal
d 215.575.3805 / c 856.304.3746




One Liberty Place, 56th Floor
1650 Market Street
CaseBER-L-003841-21
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Philadelphia, PA 19103-7334
p 215.575.3800 / f 215.575.3801
braverlaw.com
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               EXHIBIT C
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                      Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                        BERGEN COUNTY
                Plaintiffs,
                                              Docket No. BER-L-003841-21
                v.
                                              AFFIDAVIT OF SERVICE BY
  SHANALEE ACKERMAN and                       CERTIFIED MAIL UPON
  ACKERMAN PRACTICE                           SHANALEE ACKERMAN
  MANAGEMENT, LLC,
              Defendants.

      I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6089), return receipt requested, postage prepaid, to defendant Shanalee

Ackerman (“Defendant”) at her residence located at 1775 York Avenue, #32A, New

York, New York 10128.

      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.
Case 2:21-cv-18714 08/18/2021
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      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Defendant’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                       __________________________________
                                       Domenic J. Marano, Paralegal




Dated: July 9, 2021                    BRAVERMAN KASKEY GARBER PC

                                 BY:    /s/ Benjamin A. Garber
                                       BENJAMIN A. GARBER, ESQUIRE
                                       One Liberty Place- 56th Floor
                                       1650 Market Street
                                       Philadelphia, Pennsylvania 19103
                                       Telephone: (215) 575-3800
                                       Facsimile: (215) 575-3801
                                       Attorneys for Plaintiffs




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                EXHIBIT A
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                EXHIBIT B
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                              Attorney for Plaintiffs

     TAMAR GRUENBAUM; and
     TAMAR GRUENBAUM DDS, LLC,                      SUPERIOR COURT OF NEW
     d/b/a RIDGEWOOD VALLEY                         JERSEY, LAW DIVISION
     PEDIATRIC DENTISTRY,                           BERGEN COUNTY
                   Plaintiffs,
                                                    Docket No. BER-L-003841-21
                    v.
                                                    AFFIDAVIT OF SERVICE BY
     SHANALEE ACKERMAN and                          CERTIFIED MAIL UPON
     ACKERMAN PRACTICE                              ACKERMAN PRACTICE
     MANAGEMENT, LLC,                               MANAGEMENT, LLC
                 Defendants.

          I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6096), return receipt requested, postage prepaid, to defendant Ackerman

Practice Management, LLC (“Defendant”) in care of Shanalee Ackerman at Ms.

Ackerman’s residence located at 1775 York Avenue, #32A, New York, New York

10128. 1




1
    Ms. Ackerman is believed to be the Founder and CEO of Ackerman Practice Management, LLC.
Case 2:21-cv-18714 08/18/2021
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      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.

      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Ms. Ackerman’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                       __________________________________
                                       Domenic J. Marano, Paralegal




Dated: July 9, 2021                    BRAVERMAN KASKEY GARBER PC

                                 BY:    /s/ Benjamin A. Garber
                                       BENJAMIN A. GARBER, ESQUIRE
                                       One Liberty Place- 56th Floor
                                       1650 Market Street
                                       Philadelphia, Pennsylvania 19103
                                       Telephone: (215) 575-3800
                                       Facsimile: (215) 575-3801
                                       Attorneys for Plaintiffs



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Case 2:21-cv-18714 08/18/2021
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                EXHIBIT A
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                EXHIBIT B
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                     Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                  SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                     JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                       BERGEN COUNTY
               Plaintiffs,
                                            Docket No. BER-L-003841-21
               v.
                                            REQUEST FOR ENTRY OF
 SHANALEE ACKERMAN and                      DEFAULT AGAINST
 ACKERMAN PRACTICE                          DEFENDANTS SHANALEE
 MANAGEMENT, LLC,                           ACKERMAN and ACKERMAN
             Defendants.                    PRACTICE MANAGEMENT, LLC


TO:   CLERK OF SUPERIOR COURT OF NEW JERSEY
      Civil Division Case Management Office
      Bergen County Justice Center
      10 Main Street, Room 415
      Hackensack, NJ 07601

      Please enter a default upon defendants Shanalee Ackerman and Ackerman

Practice Management, LLC (collectively, the “defendants”) for failure to plead or

otherwise defend as provided by the New Jersey Court Rules. A Certification in

Support of Default is attached hereto.

                                             Respectfully submitted,

Dated: July 30, 2021                         BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
CaseBER-L-003841-21
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                                            One Liberty Place- 56th Floor
                                            1650 Market Street
                                            Philadelphia, Pennsylvania 19103
                                            Telephone: (215) 575-3800
                                            Facsimile: (215) 575-3801
                                            Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
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Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                       Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY
               Plaintiffs,
                                             Docket No. BER-L-003841-21
               v.
                                             CERTIFICATION OF BENJAMIN A.
 SHANALEE ACKERMAN and                       GARBER, ESQUIRE IN SUPPORT
 ACKERMAN PRACTICE                           OF DEFAULT AGAINST
 MANAGEMENT, LLC,                            DEFENDANTS SHANALEE
             Defendants.                     ACKERMAN and ACKERMAN
                                             PRACTICE MANAGEMENT, LLC


      BENJAMIN A. GARBER, of full age, being duly sworn hereby certifies as

follows:

      1.     I am an attorney at law in the State of New Jersey and a member of

the law firm of Braverman Kaskey Garber, P.C.

      2.     I am familiar with the facts and circumstances of the within action.

      3.     The Summons and Complaint in this action were served upon

defendants Shanalee Ackerman and Ackerman Practice Management, LLC

(collectively, the “defendants”) on June 24, 2021, as appears from the Affidavits of

Service by U.S. Certified Mail filed and docketed on July 9, 2021. True and correct
CaseBER-L-003841-21
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court-stamped copies of the Affidavits of Service upon the defendants are attached

hereto as Exhibit A.

      4.      The time within which the defendants may answer or otherwise move

as to the Complaint has expired and has not been extended. Defendants have not

answered or otherwise moved as to the Complaint.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.


                                              Respectfully submitted,

Dated: July 30, 2021                          BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
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                                              Attorneys for Plaintiffs




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               EXHIBIT A
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BRAVERMAN KASKEY GARBER PC
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Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                     Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                        BERGEN COUNTY
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  SHANALEE ACKERMAN and                       CERTIFIED MAIL UPON
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      I, Domenic J. Marano, a competent adult being duly sworn according to law,

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      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

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showing Defendant’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

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                                       __________________________________
                                       Domenic J. Marano, Paralegal




Dated: July 9, 2021                    BRAVERMAN KASKEY GARBER PC

                                 BY:    /s/ Benjamin A. Garber
                                       BENJAMIN A. GARBER, ESQUIRE
                                       One Liberty Place- 56th Floor
                                       1650 Market Street
                                       Philadelphia, Pennsylvania 19103
                                       Telephone: (215) 575-3800
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                                       Attorneys for Plaintiffs




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                EXHIBIT B
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                              Attorney for Plaintiffs

     TAMAR GRUENBAUM; and
     TAMAR GRUENBAUM DDS, LLC,                      SUPERIOR COURT OF NEW
     d/b/a RIDGEWOOD VALLEY                         JERSEY, LAW DIVISION
     PEDIATRIC DENTISTRY,                           BERGEN COUNTY
                   Plaintiffs,
                                                    Docket No. BER-L-003841-21
                    v.
                                                    AFFIDAVIT OF SERVICE BY
     SHANALEE ACKERMAN and                          CERTIFIED MAIL UPON
     ACKERMAN PRACTICE                              ACKERMAN PRACTICE
     MANAGEMENT, LLC,                               MANAGEMENT, LLC
                 Defendants.

          I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6096), return receipt requested, postage prepaid, to defendant Ackerman

Practice Management, LLC (“Defendant”) in care of Shanalee Ackerman at Ms.

Ackerman’s residence located at 1775 York Avenue, #32A, New York, New York

10128. 1




1
    Ms. Ackerman is believed to be the Founder and CEO of Ackerman Practice Management, LLC.
Case 2:21-cv-18714 08/18/2021
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      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.

      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Ms. Ackerman’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                       __________________________________
                                       Domenic J. Marano, Paralegal




Dated: July 9, 2021                    BRAVERMAN KASKEY GARBER PC

                                 BY:    /s/ Benjamin A. Garber
                                       BENJAMIN A. GARBER, ESQUIRE
                                       One Liberty Place- 56th Floor
                                       1650 Market Street
                                       Philadelphia, Pennsylvania 19103
                                       Telephone: (215) 575-3800
                                       Facsimile: (215) 575-3801
                                       Attorneys for Plaintiffs



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                EXHIBIT A
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                EXHIBIT B
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                       Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY
               Plaintiffs,
                                             Docket No. BER-L-003841-21
               v.
                                             CERTIFICATION OF
 SHANALEE ACKERMAN and                       NON-MILITARY SERVICE
 ACKERMAN PRACTICE
 MANAGEMENT, LLC,
             Defendants.

      BENJAMIN A. GARBER, of full age, being duly sworn hereby certifies as

follows:

      1.     I am an attorney at law in the State of New Jersey and a member of

the law firm of Braverman Kaskey Garber, P.C.

      2.     I am familiar with the facts and circumstances of the within action.

      3.     To the best of my knowledge, information and belief, defendants

Shanalee Ackerman and Ackerman Practice Management, LLC (collectively, the

“defendants”) are not in the military service of the United States.
Case 2:21-cv-18714 08/18/2021
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      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.


                                              Respectfully submitted,

Dated: July 30, 2021                          BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                              Attorneys for Plaintiffs




                                          2
Case 2:21-cv-18714 08/18/2021
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                       Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                        BERGEN COUNTY
                Plaintiffs,
                                             Docket No. BER-L-003841-21
               v.
                                             PROOF OF MAILING
 SHANALEE ACKERMAN and
 ACKERMAN PRACTICE
 MANAGEMENT, LLC,
              Defendants.

      I hereby certify that on the 30th day of July, 2021, a true and correct copy of

the foregoing Request for Entry of Default was electronically filed with the Clerk of

the Court, is available for viewing and downloading from the Court’s electronic

filing system (eCourts System-Civil Part), and will be served by U.S. Certified Mail

and U.S. First-Class, postage prepaid upon the following:


Shanalee Ackerman
1775 York Avenue
#32A
New York, New York 10128

Ackerman Practice Management LLC
c/o Shanalee Ackerman
1775 York Avenue
#32A
New York, New York 10128
Case 2:21-cv-18714 08/18/2021
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                                           Respectfully submitted,

Dated: July 30, 2021                       BRAVERMAN KASKEY GARBER PC

                                        BY: /s/ Benjamin A. Garber
                                           BENJAMIN A. GARBER, ESQUIRE
                                           One Liberty Place- 56th Floor
                                           1650 Market Street
                                           Philadelphia, Pennsylvania 19103
                                           Telephone: (215) 575-3800
                                           Facsimile: (215) 575-3801
                                           Attorneys for Plaintiffs




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                EXHIBIT 5
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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Shanalee Ackerman and
  Ackerman Practice Management, LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:             Shanalee Ackerman
Address of Defendant to Be Served: 1775             ork Ave., #32A, ew ork,                  10128



Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Shanalee Ackerman and
  Ackerman Practice Management, LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
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clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
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     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:             Ackerman Practice Management LLC c/o Shanalee Ackerman
Address of Defendant to Be Served: 1775             ork Ave., #32A, ew ork,                  10128



Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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                        Civil Case Information Statement
Case Details: BERGEN | Civil Part Docket# L-003841-21

Case Caption: GRUENBAUM TAMAR VS ACKERMAN                        Case Type: CONTRACT/COMMERCIAL TRANSACTION
SHANALEE                                                         Document Type: NJ eCourts Case Initiation Confirmation
Case Initiation Date: 06/14/2021                                 Jury Demand: YES - 12 JURORS
Attorney Name: BENJAMIN ALEX GARBER                              Is this a professional malpractice case? NO
Firm Name: BRAVERMAN KASKEY PC                                   Related cases pending: NO
Address: 1650 MARKET STREET 56TH FL ONE LIBERTY                  If yes, list docket numbers:
PLACE                                                            Do you anticipate adding any parties (arising out of same
PHILADELPHIA PA 191037334                                        transaction or occurrence)? NO
Phone: 2155753800
Name of Party: PLAINTIFF : Gruenbaum, Tamar                      Are sexual abuse claims alleged by: Tamar Gruenbaum? NO

Name of Defendant’s Primary Insurance Company
(if known): Unknown                                              Are sexual abuse claims alleged by: Tamar Gruenbaum DDS, LLC?
                                                                 NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Business
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

06/14/2021                                                                                 /s/ BENJAMIN ALEX GARBER
Dated                                                                                                         Signed
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                   Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                 SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                    JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                      BERGEN COUNTY
  385 S Maple Ave, #107
  Glen Rock, NJ 07452                       Docket No. ___________
                    Plaintiffs,
                                            COMPLAINT AND JURY DEMAND
               v.                           DESIGNATION OF TRIAL
                                            COUNSEL, AND CERTIFICATIONS
  SHANALEE ACKERMAN                         UNDER RULES 1:38-7(b) and 4:5-1
  1775 York Avenue, #32A
  New York, NY 10128; and

  ACKERMAN PRACTICE
  MANAGEMENT, LLC,
  13867 Jeremiah Road
  Jacksonville, FL 32224,
                    Defendants.

      Plaintiffs Tamar Gruenbaum, DDS (“Dr. Gruenbaum”) and Tamar

Gruenbaum DDS, LLC d/b/a Ridgewood Valley Pediatric Dentistry (the “Practice”),

by and through their undersigned counsel, brings this Complaint against

defendants Shanalee Ackerman (“Ackerman”) and Ackerman Practice Management,

LLC (“APM”), as follows:




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                           PRELIMINARY STATEMENT

      1.     Dr. Gruenbaum is the owner of a local pediatric dental practice. This

action arises from defendants’ fraud, breaches of contract, and other unlawful

conduct perpetrated against plaintiffs in connection with a services contract (the

“Agreement”), pursuant to which, inter alia, defendants agreed to provide

management and consulting related services to plaintiffs.

      2.     Specifically, pursuant to the Agreement and otherwise, defendants

were required to provide expert guidance on a variety of issues including, without

limitation, Practice finances and marketing, team structure, clinical protocols,

business decisions and protocols, insurance billing and practices, and case

acceptance systems.

      3.     As alleged herein, Ackerman first procured the Agreement through

fraud by misrepresenting her and APM’s credentials and expertise to Dr.

Gruenbaum, and then failed to provide the services required under the Agreement

and breached their common law obligations owed to plaintiffs.

      4.     Defendants’ acts and omissions, as alleged herein, have, and continue

to cause substantial financial harm to plaintiffs and give rise to the claims asserted

herein for breach of contract, breach of fiduciary duty, fraud, conversion, and unjust

enrichment, among others.




                                          2
CaseBER-L-003841-21
     2:21-cv-18714 Document    1-1 Filed
                    06/14/2021 3:49:48
                    08/18/2021 8:45:42 PM 10/15/21
                                          Pg 8
                                             3 of 20 Page ID:
                                                  15 Trans 163 of 282 PageID: 174
                                                              LCV20211437651
                                                              LCV20211916798




                                      PARTIES

      5.     Dr. Gruenbaum is an adult individual with a business address of 385

S. Maple Avenue, #107, Glen Rock, New Jersey 07452.

      6.     Tamar Gruenbaum DDS, LLC, d/b/a Ridgewood Valley Pediatric

Dentistry is a New Jersey limited liability company with an address of 385 S. Maple

Avenue, #107, Glen Rock, New Jersey 07452.

      7.     Ackerman is an adult individual with an address at 1775 York Avenue,

#32A, New York, New York 10128.

      8.     Upon information and belief, Ackerman also has an address of 104

West Oak Highway, Westminster, Fl 29697.

      9.     APM is a Florida corporation with a registered address of 13867

Jeremiah Road, Jacksonville, FL 32224.

      10.    At all times material hereto, Ackerman has been a shareholder, officer,

director, principal, and agent of APM.

                             JURISDICTION AND VENUE

      11.    This Court has subject matter jurisdiction over this action pursuant to

N.J. Const. Art. VI § III.

      12.    This Court has personal jurisdiction over all of the parties, as each

party resides in, conducts business in or has its principal place of business in New

Jersey, and the actions described herein occurred in New Jersey.

      13.    Venue is appropriate in this Court pursuant to NJ Court Rules 4:3-

1(a)(5) and 4:3-2(a).



                                          3
CaseBER-L-003841-21
     2:21-cv-18714 Document    1-1 Filed
                    06/14/2021 3:49:48
                    08/18/2021 8:45:42 PM 10/15/21
                                          Pg 9
                                             4 of 20 Page ID:
                                                  15 Trans 164 of 282 PageID: 175
                                                              LCV20211437651
                                                              LCV20211916798




                                        FACTS

                                     Background

      14.    Dr. Gruenbaum grew up in Teaneck, New Jersey and earned her

D.D.S. from Columbia University College of Dental Medicine.

      15.    Dr. Gruenbaum completed a general practice residency at Montefiore

Medical Center in Bronx, New York.

      16.    Dr. Gruenbaum did her post-graduate training in pediatric dentistry at

Maimonides Medical Center in Brooklyn, New York, where she served as chief

resident during her second year.

      17.    Dr. Gruenbaum is a member of the AAPD and is board certified by the

American Board of Pediatric Dentistry.

      18.    Dr. Gruenbaum is the owner of the Practice, which provides

comprehensive dental care to children from infancy through their teenage years.

      19.    Dr. Tamar Gruenbaum, DDS, owns dental practice Tamar Gruenbaum

DDS, LLC, d/b/a Ridgewood Valley Pediatric Dentistry.

      20.    Ackerman holds herself out as an expert business consultant in the

healthcare arena.

      21.    Ackerman is believed to be the Founder and CEO of APM.

      22.    In 2017, plaintiffs retained defendants to provide management and

consulting related services.

      23.    As part of plaintiffs’ retention of defendants’ services, the parties




                                           4
    Case 2:21-cv-18714 08/18/2021
       BER-L-003841-21
       BER-L-003841-21 Document   1-1 Filed
                       06/14/20213:49:48
                                  8:45:42 PM 10/15/21
                                          PM Pg
                                             Pg10
                                                5 of
                                                   of15 Page
                                                      20Trans 165
                                                        TransID:   of 282 PageID: 176
                                                              ID:LCV20211437651
                                                                  LCV20211916798




entered into a services contract—i.e., the Agreement. 1

                        Defendants’ Fraud and Unlawful Conduct

         24.   Plaintiff retained defendants based upon Ackerman’s representations

touting her skills, acumen, credentials, qualifications, and abilities as an expert

business consultant in the healthcare arena.

         25.   Ackerman also misrepresented the credentials, qualifications, and

abilities of APM.

         26.   Ackerman represented that APM was a successful ongoing business

when, in reality, it was not even registered as an active company with the State of

New York during her engagement with the Practice.

         27.   Ackerman misrepresented to Dr. Gruenbaum her successes improving

dental practices like Dr. Gruenbaum’s practice.

         28.   The Agreement required defendants to provide services to plaintiffs in

exchange for compensation.

         29.   Among other things, pursuant to the Agreement, defendants were

required to, inter alia, provide plaintiffs with expert guidance on a variety of issues,

including finances and marketing, team structure, clinical protocols, business

decisions and protocols, insurance billing and practices, and case acceptance

systems.




1Despite diligent inquiry, plaintiffs are not presently in possession of an executed copy of the
Agreement. By letter dated May 13, 2021, plaintiffs made demand upon defendants for a copy of the
same. As of the filing of this Complaint, defendants have not responded to plaintiffs’ letter or
demand for the Agreement.

                                                5
Case 2:21-cv-18714 08/18/2021
   BER-L-003841-21
   BER-L-003841-21 Document   1-1 Filed
                   06/14/20213:49:48
                              8:45:42 PM 10/15/21
                                      PM Pg
                                         Pg11
                                            6 of
                                               of15 Page
                                                  20Trans 166
                                                    TransID:   of 282 PageID: 177
                                                          ID:LCV20211437651
                                                              LCV20211916798




      30.    Defendants, however, failed to provide the services required under the

Agreement and to act in accordance with their common law obligations to plaintiffs.

      31.    Ackerman exceeded the scope of her engagement by botching the

Practice’s insurance participation and insurance billing protocols.

      32.    Ackerman indicated in insurance billing entries, and instructed others

to also indicate, that the Practice was in-network with Delta Dental PPO.

      33.    Ackerman retroactively modified numerous insurance billing entries

dated between February 2018 and March 2018 to reflect Delta Dental PPO

coverage.

      34.    Ackerman knew, should have known, or recklessly ignored that the

Practice’s contract was with Delta Dental’s Premier coverage only—not PPO.

      35.    Ackerman also incorrectly entered Aetna insurance billing codes.

      36.    Realizing her mistake and attempting to cover it up, Ackerman gained

access to the Practice’s billing software without authorization and deleted the entire

archive.

      37.    As a result of her insurance and billing related indiscretions,

Ackerman caused the practice to incur substantial monetary losses.

      38.    Ackerman was required to collaborate with Dr. Gruenbaum and guide

her in decision-making pertaining to the Practice. However, Ackerman failed to do

so.

      39.    Instead, Ackerman took actions that were beyond the scope of the

Agreement and/or without Dr. Gruenbaum’s authorization.



                                          6
Case 2:21-cv-18714 08/18/2021
   BER-L-003841-21
   BER-L-003841-21 Document   1-1 Filed
                   06/14/20213:49:48
                              8:45:42 PM 10/15/21
                                      PM Pg
                                         Pg12
                                            7 of
                                               of15 Page
                                                  20Trans 167
                                                    TransID:   of 282 PageID: 178
                                                          ID:LCV20211437651
                                                              LCV20211916798




      40.    Ackerman duped Dr. Gruenbaum into changing the Practice’s third-

party vendors to those of her recommendation claiming that the Practice would gain

additional value by switching to her recommended vendors.

      41.    Based on Ackerman’s recommendations and false representations, Dr.

Gruenbaum agreed to change vendors for accounting and tax services, technology

services, and insurance negotiation services.

      42.    Ackerman recommended these vendors despite having knowledge of

their incompetence.

      43.    Ackerman recommended these vendors for the purposes of her own

financial benefit.

      44.    One of the most egregious examples being Ackerman’s

recommendation of an accounting firm, Levine & Associates LLC, whose services

were deficient and have resulted in IRS scrutiny and in connection with which

plaintiffs have suffered financial losses, fees, costs, expenses, and penalties.

      45.    Ackerman was required to engage in an appropriate level of

interaction with Practice staff for training and team building purposes. Ackerman

entirely failed to interact with them appropriately.

      46.    During onsite visits, Ackerman did not make herself available to

Practice staff and instead did work for and took phone calls from other clients.

      47.    Ackerman also harassed and abused staff, exposing the Practice to

employment related claims.




                                           7
Case 2:21-cv-18714 08/18/2021
   BER-L-003841-21
   BER-L-003841-21 Document   1-1 Filed
                   06/14/20213:49:48
                              8:45:42 PM 10/15/21
                                      PM Pg
                                         Pg13
                                            8 of
                                               of15 Page
                                                  20Trans 168
                                                    TransID:   of 282 PageID: 179
                                                          ID:LCV20211437651
                                                              LCV20211916798




      48.    Ackerman exaggerated her position of authority in the Practice to third

parties. This included representing herself as “Practice Manager”.

      49.    Ackerman illicitly gained access to confidential information of the

Practice.

      50.    She established herself as a provider in the Practice’s insurance billing

system, obtained access to business and personal credit cards and bank accounts,

and obtained keys to the office and to the security camera system. Ackerman had

no authority to undertake any such action.

      51.    Ackerman failed to appropriately monitor billing and to timely collect

outstanding balances.

      52.    When Ackerman did set out to collect outstanding balances, her

conduct was aggressive and off-putting, causing significant patient attrition.

      53.    Ackerman caused Dr. Gruenbaum to sign up for the review system

“BirdEye” which Dr. Gruenbaum paid for only to subsequently learn that the

Practice had never actually been signed up by Ackerman and instead she had been

paying for the service for one of Ackerman’s other clients.

      54.    Because of defendants’ actions, the Practice’s performance declined

substantially, revenues decreased, overheard and other costs increased, and

plaintiffs incurred unnecessary financial losses.

      55.    Defendants failed to enhance the Practice’s business and did nothing to

help market the Practice.




                                          8
Case 2:21-cv-18714 08/18/2021
   BER-L-003841-21
   BER-L-003841-21 Document   1-1 Filed
                   06/14/20213:49:48
                              8:45:42 PM 10/15/21
                                      PM Pg
                                         Pg14
                                            9 of
                                               of15 Page
                                                  20Trans 169
                                                    TransID:   of 282 PageID: 180
                                                          ID:LCV20211437651
                                                              LCV20211916798




      56.    As a result of defendants’ acts and omissions, plaintiffs have suffered

emotional distress and substantial monetary harm, including lost profits, loss of

goodwill, and out-of-pocket expenses, fees, and costs.

      57.    Defendants have been unjustly enriched, having received not less than

approximately $70,000 in connection with the Agreement.

                                     COUNT I
                                BREACH OF CONTRACT

      58.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      59.    Plaintiffs and defendants are parties to a valid and enforceable

contract, i.e., the Agreement.

      60.    Plaintiffs have performed under the Agreement.

      61.    By doing the things alleged herein, defendants have materially

breached his Agreement.

      62.    As a direct, proximate, and foreseeable result of defendants’ breaches

of contract, plaintiffs have suffered, and will continue to suffer, substantial damages

in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                               COUNT II
                 BREACH OF GOOD FAITH AND FAIR DEALING

      63.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.




                                          9
Case 2:21-cv-18714 08/18/2021
   BER-L-003841-21 Document3:49:48
                   06/14/2021  1-1 Filed
                              8:45:42 PM 10/15/21
                                         Pg 15    15 Page
                                            10 of 20 Trans 170  of 282 PageID: 181
                                                           ID: LCV20211916798
                                                               LCV20211437651




       64.    By doing the things alleged herein, defendants have breached the duty

of good faith and fair dealing owed to plaintiffs.

       65.    As a direct, proximate, and foreseeable result of defendants’ breaches

of good faith and fair dealing, plaintiffs have suffered, and will continue to suffer,

substantial damages in an amount to be determined at trial.

       WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                   COUNT III
                           BREACH OF FIDUCIARY DUTY

       66.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

       67.    Under New Jersey law, a fiduciary relationship exists when one party

is under a duty to act for or give advice for the benefit of another on matters within

the scope of their relationship.

       68.    By virtue of the parties’ relationship, defendants owed fiduciary duties

to the plaintiffs.

       69.    By doing the things alleged herein, defendants have breached their

fiduciary duties of care and loyalty to plaintiffs.

       70.    As a direct, proximate, and foreseeable result of defendants’ breaches

of fiduciary duty, plaintiffs have suffered, and will continue to suffer, substantial

damages in an amount to be determined at trial.

       WHEREFORE, plaintiffs pray for relief as more fully set forth below.




                                            10
Case 2:21-cv-18714 08/18/2021
   BER-L-003841-21 Document3:49:48
                   06/14/2021  1-1 Filed
                              8:45:42 PM 10/15/21
                                         Pg 16    15 Page
                                            11 of 20 Trans 171  of 282 PageID: 182
                                                           ID: LCV20211916798
                                                               LCV20211437651




                                    COUNT IV
                                   CONVERSION

      71.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      72.    By doing the things alleged herein, defendants converted the time,

money, resources, and other assets of the plaintiffs without privilege or

authorization and for their own improper purposes.

      73.    As a direct, proximate, and foreseeable result of defendants’

conversion, plaintiffs have suffered, and will continue to suffer, substantial

damages in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                     COUNT V
                                UNJUST ENRICHMENT

      74.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      75.    Defendants have and continue to benefit from their receipt of the

benefits and other compensation paid to them by the plaintiffs.

      76.    Defendants’ retention of said benefits constitutes unjust enrichment.

      77.    Accordingly, the Court should require defendants to return the benefits

bestowed upon them by the plaintiffs to the plaintiffs.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.




                                          11
Case 2:21-cv-18714 08/18/2021
   BER-L-003841-21 Document3:49:48
                   06/14/2021  1-1 Filed
                              8:45:42 PM 10/15/21
                                         Pg 17    15 Page
                                            12 of 20 Trans 172  of 282 PageID: 183
                                                           ID: LCV20211916798
                                                               LCV20211437651




                                COUNT VI
                     FRAUD/FRAUDULENT CONCEALMENT

        78.   Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

        79.   Defendants knowingly misrepresented the truth and/or concealed

material facts to induce plaintiffs to act to their detriment.

        80.   As alleged herein, defendants misrepresented to Dr. Gruenbaum that

Ackerman was a qualified, experienced, competent, and diligent professional.

        81.   Reasonably relying on these misrepresentations, plaintiffs retained

defendants’ services.

        82.   Reasonably relying on these misrepresentations, plaintiffs retained

entered into the Agreement.

        83.   Additionally, defendants knowingly and intentionally concealed their

misconduct from plaintiffs for purposes of preventing them from uncovering the

truth of the same and continuing to reap the benefits that plaintiffs bestowed upon

them.

        84.   As a direct, proximate, and foreseeable result of defendants’ fraud and

fraudulent concealment, plaintiffs have suffered, and will continue to suffer,

substantial damages in an amount to be determined at trial.

        WHEREFORE, plaintiffs pray for relief as more fully set forth below.




                                           12
Case 2:21-cv-18714 08/18/2021
   BER-L-003841-21 Document3:49:48
                   06/14/2021  1-1 Filed
                              8:45:42 PM 10/15/21
                                         Pg 18    15 Page
                                            13 of 20 Trans 173  of 282 PageID: 184
                                                           ID: LCV20211916798
                                                               LCV20211437651




                                     COUNT VII
                                    NEGLIGENCE

      85.     Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      86.     Defendants owed plaintiffs a duty of care as an alleged healthcare

consultant.

      87.     By doing the things alleged herein, defendants breached their duty of

care, acted negligently, and otherwise deviated from the acceptable professional

standards attendant to an alleged healthcare consultant.

      88.     As a direct, proximate, and foreseeable result of defendants’

negligence, plaintiffs have suffered, and will continue to suffer, substantial damages

in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                PRAYER FOR RELIEF

      WHEREFORE, plaintiffs demand judgment against defendants as follows:

      (i)     compensatory and consequential damages in an amount to be

              determined at trial, against defendants, individually and/or jointly and

              severally as appropriate;

      (ii)    punitive damages;

      (iii)   reasonable attorney’s fees and costs;

      (iv)    pre- and post-judgment interest at the highest legal rate; and




                                          13
Case 2:21-cv-18714 08/18/2021
   BER-L-003841-21 Document3:49:48
                   06/14/2021  1-1 Filed
                              8:45:42 PM 10/15/21
                                         Pg 19    15 Page
                                            14 of 20 Trans 174  of 282 PageID: 185
                                                           ID: LCV20211916798
                                                               LCV20211437651




      (v)    for such other and further relief as the Court may deem equitable, just,

             and proper, including the award of costs and expenses incurred by

             plaintiffs in this action.

                                   JURY DEMAND

      Plaintiffs demand trial by a jury of twelve on all of the triable issues of this

Complaint, pursuant to NJ Court Rules 1:8-2(b) and 4:35-1(a).

                       DESIGNATION OF TRIAL COUNSEL

      Pursuant to NJ Court Rule 4:25-4, plaintiffs hereby designate Benjamin A.

Garber, Esq. as trial counsel in this matter.




                                          14
Case 2:21-cv-18714 08/18/2021
   BER-L-003841-21 Document3:49:48
                   06/14/2021  1-1 Filed
                              8:45:42 PM 10/15/21
                                         Pg 20    15 Page
                                            15 of 20 Trans 175  of 282 PageID: 186
                                                           ID: LCV20211916798
                                                               LCV20211437651




                                  CERTIFICATIONS

      The undersigned hereby certifies that the matter in controversy is not the

subject of any other action pending in any Court or arbitration proceeding and no

other Court action or arbitration proceeding is contemplated. There is presently

pending one other action, at Docket No. C-154-19, in which one or more of the

parties to this action assert matters other than the matter in controversy herein.

      Other than the parties set forth in this complaint, I know of no other parties

that should be made a part of this lawsuit. I recognize my continuing obligation to

file and serve on all parties and the court an amended certification if there is a

change in the facts stated in this original certification.

      I certify that confidential personal identifiers have been redacted from

documents now submitted to the court and will be redacted from all documents

submitted in the future in accordance with Rule 1:38-7(b).

                                                Respectfully submitted,

Dated: June 14, 2021                            BRAVERMAN KASKEY GARBER PC

                                            BY: /s/ Benjamin A. Garber
                                               BENJAMIN A. GARBER, ESQUIRE
                                               One Liberty Place- 56th Floor
                                               1650 Market Street
                                               Philadelphia, Pennsylvania 19103
                                               Telephone: (215) 575-3800
                                               Facsimile: (215) 575-3801
                                                Attorneys for Plaintiffs




                                           15
Case 2:21-cv-18714 09/01/2021
   BER-L-003841-21 Document10:26:44
                              1-1 Filed
                                     PM10/15/21
                                        Pg 1 of 11 Page
                                                   Trans 176  of 282 PageID: 187
                                                         ID: LCV20212032675



  BARUCH S. GOTTESMAN, ESQ.
  185-12 Union Turnpike
  Fresh Meadows, NY 11366
  Phone: (212) 401-6910
  e-mail: bg@gottesmanlegal.com
  N.J. Attorney I.D. No. 02222-2006
  Counsel for Defendants

  TAMAR GRUENBAUM; and                                SUPERIOR COURT OF NEW JERSEY
  TAMAR GRUENBAUM DDS, LLC,                           LAW DIVISION: BERGEN COUNTY
  doing business as RIDGEWOOD VALLEY
  PEDIATRIC DENTISTRY,                                Docket No. BER-L -003841-2021

                       Plaintiffs,

        ~ versus ~

  SHANALEE ACKERMAN; and
  ACKERMAN PRACTICE MANAGEMENT,
  LLC

                       Defendants.




                MEMORANDUM OF LAW BY DEFENDANTS
                               IN OPPOSITION TO
                        MOTION TO ENTER DEFAULT




                     Respectfully Submitted September 1, 2021
                          by Baruch S. Gottesman, Esq.


                                          1
Case 2:21-cv-18714 09/01/2021
   BER-L-003841-21 Document10:26:44
                              1-1 Filed
                                     PM10/15/21
                                        Pg 2 of 11 Page
                                                   Trans 177  of 282 PageID: 188
                                                         ID: LCV20212032675




                                             Table of Contents



  I.     Introductory Statement: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

  II.    Factual and Procedural Background . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

  III.   Argument: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5

         a.       The Defendants were not Served . . . . . . . . . 5

         b.       If Service was Proper, then Default
                  Should not be Entered Because of
                  the Defendants’ Excusable Neglect . . . . . . . 6

         c.       If Service was Proper, then Default
                  Should not be Entered Because of
                  the Defendants’ Meritorious Defense . . . . . . . . . 8

                  i.        Fraud is Not Well-Plead
                  ii.       Unjust Enrichment is Not Well Plead
                  iii.      The Allegations in the
                            of the Complaint are Denied in full
                  iv.       This Court has No Jurisdiction
                            Over the Defendants



         d.       The Plaintiffs Will not be Prejudiced . . . . . 10



  IV.    Conclusion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
Case 2:21-cv-18714 09/01/2021
   BER-L-003841-21 Document10:26:44
                              1-1 Filed
                                     PM10/15/21
                                        Pg 3 of 11 Page
                                                   Trans 178  of 282 PageID: 189
                                                         ID: LCV20212032675




  I.     INTRODUCTORY STATEMENT

                 The Defendants learned of the Motion for Entry Default and immediately

  appear now through counsel to oppose this Motion. As described in the Ackerman

  Certificate and explained in this Brief, the Defendants’ junk service to a wrong address

  cannot qualify as “service” for purpose entering a Default against the Defendant.

                 Additionally and in the alternative, if the Honorable Court were to find that

  Service was proper, then the Honorable Court should not Enter a Default because of the

  Defendants’ reasonable excuse and meritorious defense.



  II.    FACTUAL AND PROCEDURAL BACKGROUND

                 As described in the Ackerman Certification, the Defendants were never

  served. The Plaintiffs attempted service on an unauthorized address and failed to leave the

  papers with a person authorized to accept service on behalf of the Defendants. Certification

  ¶¶ 21, 22, et passim.     The Plaintiffs then mailed the papers to the wrong address.

  Certification ¶¶ 9 – 11, et passim.

                 As explained in the Certification, the Defendants did not authorize anyone

  to accept service on behalf of themselves or the Company and they did not authorize

  anyone to sign the return receipt and in fact did not sign the return receipt themselves.

  Ackerman Certification ¶¶ 14 – 22.

                 Assuming for the sake of argument that service was proper, the Defendants

  want to explain some of the background to this case.

                 As alleged in the Levine Complaint filed by the Plaintiff in a parallel action

  (Gruenbaum v. Levine, ATL-L-3840/21 at ¶¶ 23, 25) and further explained in the



                                        Page 3 of 11
Case 2:21-cv-18714 09/01/2021
   BER-L-003841-21 Document10:26:44
                              1-1 Filed
                                     PM10/15/21
                                        Pg 4 of 11 Page
                                                   Trans 179  of 282 PageID: 190
                                                         ID: LCV20212032675




  Ackerman Certification, ¶ 23, the services at issue in this Complaint were provided to the

  Plaintiff and her (ex-)husband. As described in the Gruenbaum v. Levine Complaint at

  ¶ 36, and the Ackerman Certification ¶ 24, the services provided by the Defendants became

  an issue in the Plaintiff’s divorce proceedings that remain ongoing in New York.

                Through no wrongdoing on the Defendants’ part, they found themselves

  dragged into a contentious matrimonial action out of state across the Hudson.

                This lawsuit filed.

                The Defendants understood that they were not served and that if this case

  were to move forward, they would be served and the case would commence after the

  resolution of the matrimonial action in New York. They just become aware that a Motion

  for Entry of Default was filed against them and quickly appear to respectfully but

  emphatically oppose the entry of Default, as explained in this Memorandum.




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                                      Page 4 of 11
Case 2:21-cv-18714 09/01/2021
   BER-L-003841-21 Document10:26:44
                              1-1 Filed
                                     PM10/15/21
                                        Pg 5 of 11 Page
                                                   Trans 180  of 282 PageID: 191
                                                         ID: LCV20212032675




  III.   ARGUMENT:

         A.     THE DEFENDANTS WERE NOT SERVED

                 If the claim is that the Plaintiffs served the Defendants pursuant to

  Rule 4:4-4(b)(1) then service was not valid.

                 The Rules provide that under limited circumstances where the Plaintiffs

  shows that despite diligent effort and inquiry personal service cannot be made in this state

  – a condition precedent that is not alleged to have been done by the Plaintiffs, See, e.g.,

  Sarmiento v. St. Mary’s Hospital Passaic, 10-CIV-2042, 2012 U.S.Dist. LEXIS 95998

  (D.N.J. July 10, 2012)(finding single attempt at service with skip-trace identification of

  new address to be insufficient diligent inquiry).– then the Plaintiffs may:

                  “mail[] a copy of the summons and compliant by registered
                 or certified mail, return receipt requested, and
                 simultaneously, by ordinary mail to: (1) a competent
                 individual of the age of 14 or over, addressed to the
                 individual’s dwelling house or usual place of abode; . . . (3)
                 a corporation . . . that is subject to suit under a recognized
                 name, addressed to a registered agent for service, or to its
                 principal place of business or to its registered address.”

                 Rule 4:4-4(b)(1)(C)

                 Rule 4:4-3 also describes circumstances under which mailing is valid

  service. But all that depends on actually mailing the Summons and Complaint to the

  Defendant!

                 As described in the Ackerman Certificate ¶¶ 6 – 11, and Exhibit B the mail

  was sent to the wrong address. There is no indication that Plaintiffs used the registered

  address of the LLC or any other formal statement by the Defendants of their address upon

  which they could rely. Contrast Melton v. Brotman Foot Care Group, 198 A.D.2d 481

  (N.Y.App.Div. 2d Dep’t 1993) a New York case which found that it was reasonable for a

                                       Page 5 of 11
Case 2:21-cv-18714 09/01/2021
   BER-L-003841-21 Document10:26:44
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                                     PM10/15/21
                                        Pg 6 of 11 Page
                                                   Trans 181  of 282 PageID: 192
                                                         ID: LCV20212032675




  Plaintiff to have served the registered address listed by the professional themselves for

  service of process.

                 No so, here. The Ackerman Certification at Exhibit A, shows that the public

  record listed no address in New York for the LLC. And the Certification at Exhibit C

  shows that the address used was not Ms. Ackerman’s address either.

                 Simply put, service was not sent to the correct address.



         B.     IF SERVICE WAS PROPER, THEN DEFAULT
                SHOULD NOT BE ENTERED BECAUSE OF
                THE DEFENDANTS’ EXCUSABLE NEGLECT

                 Assuming for the sake of argument that the Service was proper, the

  Defendants still respectfully submit that Default should not be entered. Here’s why:

                 The Defendants understood – perhaps misunderstood – that they were not

  served and that if a case was proceeding in New Jersey, it would only happen after the

  resolution of the underlying matrimonial action. Certification at ¶ 23-27.

                 The Rules Provide:

                 “On motion, with briefs, and upon such terms as are just, the
                 court may relief a party . . . from a final judgment or order
                 for the following reasons: (a) mistake, inadvertence,
                 surprise, or excusable neglect.”

                 Rule 4:50-1(a).

                 The Supreme Court explained that “[g]enerally, a defendant seeking to

  reopen a default judgment because of excusable neglect must show that the failure to

  answer was excusable under the circumstances and that a meritorious defense is available.”

  Hous. Auth. of Morristown v. Little, 135 N.J. 274, 284 (1994). The standard for opening

  defaults, we are told, “should be viewed with great liberality, and every reasonable ground



                                      Page 6 of 11
Case 2:21-cv-18714 09/01/2021
   BER-L-003841-21 Document10:26:44
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                                     PM10/15/21
                                        Pg 7 of 11 Page
                                                   Trans 182  of 282 PageID: 193
                                                         ID: LCV20212032675




  for indulgence is tolerated to the end that a just result is reached.” Housing Authority of

  Morristown, Id. at 283-84 citing Marder v. Realty Constr. Co., 84 N.J.Super. 313, 318-319

  (App. Div. 1964).

                 “An application to vacate a default, pursuant to the Rule 4:43-2, is indulged

  with even greater liberality.” Paul Sciarra, LLC v. Freeman, Docket No. A-0559-16T1,

  2017 N.J. Super.Unpub. LEXIS 359, at * 3 (App.Div. Feb. 15, 2017) citing U.S. Bank N.A.

  v. Guillaume, 209 N.J. 449 (2012).

                 We would go a step further and propose that if the opening of defaults are

  afforded liberal standards in the interest of justice, all the more so in this case where the

  Default as not been entered and there will be no prejudice to the Plaintiffs. There has been

  no Default entered, no reliance interest created, and no concern about springing a Defense

  on a complacent Plaintiff months or years after entry of a Default.

                 The excusable neglect in this case is the Defendants understanding that they

  were not served, and that if this case was to proceed, it would only happen after the

  resolution of the underlying matrimonial action. Perhaps the Defendants misunderstood,

  but it was reasonable for a non-lawyer from out-of-state who had no knowledge of

  New Jersey process to rely on their layman’s understanding that the case was on hold.

  Once the Defendants learned of the Motion for Entry of Default the Defendants

  immediately presented themselves to the Court and now oppose the entry of the Default.

                 Contrast this situation with the case of Akegan v. Fagans, Index. A-1477-

  15T3, 2017 N.J. Super. Unpub. LEXIS 2590 (App.Div. 2017). In Akegan, the Honorable

  Judge Wilson of this Court denied a Motion to Vacate where the Defendant was served in

  April 2014 and failed to come to court to vacate the default until July 2015 – more than

  fifteen months later.

                                       Page 7 of 11
Case 2:21-cv-18714 09/01/2021
   BER-L-003841-21 Document10:26:44
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                                     PM10/15/21
                                        Pg 8 of 11 Page
                                                   Trans 183  of 282 PageID: 194
                                                         ID: LCV20212032675




                  We would propose that this case is more in line with the matter of

  Dori v. Shavit, Docket No. BER-L-007844-2019, where the Defendant appeared in Court

  six months after the entry of Default and after a motion to Enforce Litigants Rights was

  filed. The Defendant in Dori explained that they misunderstood whether they were

  represented by counsel and provided an Answer with a general denial of the allegations in

  the Complaint. In Dori, the Honorable Judge Wilson vacated the entry of default and

  restored the case to the calendar (Order in Dori v. Shavit, Docket No. BER-L-007844-2019

  (Super.Ct. Bergen Co. Sept. 11, 2020)).



          C.     IF SERVICE WAS PROPER, THEN DEFAULT
                 SHOULD NOT BE ENTERED BECAUSE OF
                 THE DEFENDANTS’ MERITORIOUS DEFENSE

                  If Granted Leave, the Defendants will move to Dismiss and otherwise put

  forth a Meritorious Defense.

                  This is not the place for the Defendants to argue their Motion to Dismiss,

  and as proposed in the Defendants’ Proposed Order, they will move to Dismiss within

  seven (7) days of the entry of an Order denying the Motion to Enter Default.

                  That said, generally speaking and without prejudice to further and other

  arguments that the Defendants will put forth in full in their Memorandum of Support of

  their Motion to Dismiss; the causes of action for equitable relief (Unjust Enrichment) and

  the causes of action for Fraud and Conversion must be dismissed with prejudice. The other

  claims are all denied in full.




                                      Page 8 of 11
Case 2:21-cv-18714 09/01/2021
   BER-L-003841-21 Document10:26:44
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                                     PM10/15/21
                                        Pg 9 of 11 Page
                                                   Trans 184  of 282 PageID: 195
                                                         ID: LCV20212032675




                  i.     Fraud (Count VI) is Not Well Plead

                  Rule 4:5-8(a) requires that: “in all allegations of misrepresentation, fraud .

  . . particulars of the wrong, with dates and items if necessary, shall be stated insofar as

  practicable.”

                  In their Complaint, the Plaintiffs make only the vaguest allegations about

  Ackerman’s supposed “misrepresentations” about his credentials, qualifications, and

  abilities (Complaint ¶¶ 24-25). There are no allegations about what, when, where and how

  the allegedly false statements were made, nor what those false statements were. There is

  no allegation in the Complaint of anything that rises above the level of “‘puffery’ or ‘vague

  and ill-defined opinions’ [which are] not assurances of fact and thus do not constitute

  misrepresentations.” Alexander v. CIGNA Corp., 991 F Supp 427, 435 (D.N.J. 1997)

  affirmed 172 F.3d 859 (3d Cir. 1998). Alexander also cites the case of VT Investors v. R

  & D Funding Corp., 733 F.Supp. 823, 838 (D.N.J. 1990) where statements of specific

  financial goals were found to be non-actionable “puffery”.

                  As will be fully argued in the Motion to Dismiss, the Cause of Action for

  Fraud poisons the well without any factual basis and without even an attempt to fulfill the

  heightened pleading requirements for such damning allegations. It is a breach of contract

  claim dressed up as “fraud” and must be dismissed with prejudice.

                  ii.    Unjust Enrichment (Count V) is Not Well Plead

                  Unjust enrichment is plainly inapplicable here because there is an adequate

  remedy at law. See, e.g., Bender, Inc. v. Jos. L. Muscarelle, Inc., 304 N.J. Super. 282, 285

  (App.Div 1997) citing Callano v Oakwood Park Homes Corp., 91 N.J. Super 105

  (App.Div. 1966)(“Recovery on the theory of quasi-contract was developed under the law

  to provide a remedy where none existed.”).

                                       Page 9 of 11
Case 2:21-cv-18714 09/01/2021
  BER-L-003841-21   Document10:26:44
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                                        Pg 10 of 11Page
                                                    Trans185  of 282 PageID: 196
                                                         ID: LCV20212032675




                  In this case, the Plaintiffs alleged causes of action for breach of contract and

  other legal claims. Unjust Enrichment cannot lie and the Defendants respectfully submit

  the claim of Unjust Enrichment cannot be proceed because it duplicates the legal claims.

  Therefore the claim for Unjust Enrichment must be dismissed with prejudice.


                  iii.      The Substantive Claims of the Complaint are Denied

                  The Defendants deny the substantive claims of the Complaint (Ackerman

  Certification at ¶ 28).

                  iv.       The Court has no Jurisdiction over the Defendants

                  The Defendants were not served. The Court has no personal jurisdiction

  over the Defendants, and New Jersey courts have no jurisdiction over the Defendants.



          D.     THE PLAINTIFFS WILL NOT BE PREJUDICED

                  The cases described above address Defendants who appear and seek to re-

  open Defaults months – years, in many situations described in the caselaw – after the

  Formal Entry of Default and Entry of Judgment.

                  Not so, here.

                  The Defendants thought they were not served and awaited the outcome of

  the matrimonial action. They were unable to obtain information about the proceedings

  taking place out-of-state (from their perspective) and are alleged to have erroneously failed

  to respond. The Motion to Enter Default was a wake-up call for the Defendants to obtain

  local New Jersey representation, which they have now done. But the short delay, which

  caused no prejudice to the Plaintiffs, should not be a death sentence for the Defendants’

  defense.



                                        Page 10 of 11
Case 2:21-cv-18714 09/01/2021
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                                        Pg 11 of 11Page
                                                    Trans186  of 282 PageID: 197
                                                         ID: LCV20212032675




                IV.     CONCLUSION


                For the reasons described above, the Defendants respectfully submit that no

  Entry of Default should be made and the case restored to the Trial Calendar. A proposed

  Order is submitted contemporaneously with the filing of this Motion.




  DATED:        SEPTEMBER 1, 2021

                                              RESPECTFULLY SUBMITTED,

                                      By:
                                              BARUCH S. GOTTESMAN, ESQ.
                                              New Jersey Attorney I.D. No. 02222-2006
                                              185-12 Union Turnpike
                                              Fresh Meadows, NY 11366*
                                              Phone: (212) 401-6910
                                              e-mail: bg@gottesmanlegal.com
                                              Attorney for Defendants




                                    Page 11 of 11
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                                           Pg 1 of 1 Trans 187 of 282 PageID: 198
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TAMAR GRUENBAUM; and                                      SUPERIOR COURT OF NEW JERSEY
TAMAR GRUENBAUM DDS, LLC,                                 LAW DIVISION: BERGEN COUNTY
doing business as RIDGEWOOD VALLEY
PEDIATRIC DENTISTRY,                                      Docket No. BER-L -003841-2021

                      Plaintiffs,

      ~ versus ~

SHANALEE ACKERMAN; and
ACKERMAN PRACTICE MANAGEMENT,                                [PROPOSED ALTERNATIVE]
LLC                                                                  ORDER

                      Defendants.




             THIS MATTER having been opened to the Court by the Braverman,

Kaskey, Garber P.C., counsel for the Plaintiffs TAMAR GRUENBAUM; and TAMAR

GRUENBAUM DDS, LLC, doing business as RIDGEWOOD VALLEY PEDIATRIC

DENTISTRY for entry of a Final Judgment by Default pursuant to R. 4:43-2 against

Defendants   SHANALEE               ACKERMAN;       and    ACKERMAN           PRACTICE

MANAGEMENT, LLC, and the Court having considered the submissions by the Parties,

             It is on this ___th day of September 2021, ORDERED as follows:

             1. The Application for Entry of Default is Denied.

             2. A copy of this Order shall be served on the Defendants within seven (7)

                   days of entry and receipt by the Plaintiffs through NJ eCourts.




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                                                                       , J.S.C.
The Motion was Opposed
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2021 FLORIDA LIMITED LIABILITY COMPANY REINSTATEMENT                         FILED
DOCUMENT# L16000110617                                                    Jun 02, 2021
Entity Name: ACKERMAN PRACTICE MANAGEMENT, LLC                         Secretary of State
                                                                        3423877675CR
Current Principal Place of Business:
13867 JEREMIAH ROAD
JACKSONVILLE, FL 32224


Current Mailing Address:
13867 JEREMIAH ROAD
JACKSONVILLE, FL 32224 US

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: No
Name and Address of Current Registered Agent:
ACKERMAN, SHANALEE
13867 JEREMIAH ROAD
JACKSONVILLE, FL 32224 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: SHANALEE ACKERMAN                                                                                                                                              06/02/2021
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  AMBR
Name                   ACKERMAN, SHANALEE
Address                104 WEST OAK HIGHWAY
City-State-Zip:        WESTMINSTER FL 29697




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: SHANALEE ACKERMAN                                                                                           MEMBER                                             06/02/2021
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date
CaseBER-L-003841-21
     2:21-cv-18714 Document    1-1 Filed
                    09/01/2021 10:41:30 PM10/15/21   Page ID:
                                           Pg 1 of 1 Trans 194 of 282 PageID: 205
                                                              LCV20212032679
  CaseBER-L-003841-21
       2:21-cv-18714 Document    1-1 Filed
                      09/01/2021 10:41:30 PM10/15/21   Page ID:
                                             Pg 1 of 1 Trans 195 of 282 PageID: 206
                                                                LCV20212032679




From: Holland Inn of Bar Harbor <communications@resnexus.com>
Date: April 27, 2021 at 11:22:34 AM EDT
To: erin.doherty0@gmail.com
Subject: Holland Inn of Bar Harbor - Confirmation: #85044
Reply-To: Holland Inn of Bar Harbor <info@hollandinn.com>


Tuesday, Apr 27, 2021

Dear Erin,

This letter is to confirm the reservation you have made at the Holland Inn. Here are directions to
check in procedures. If you have any questions at all, please call or send an email. Also if possible

FROM BANGOR, MAINE : [approximately 45 miles]
It takes about 45 minutes to an hour to get here, October through mid June or 1-1 1/2 hours [at the
From Interstate 95 North or South, get off at Exit 182A in Bangor, which is Interstate 395 East. Fo
Route 3 to Bar Harbor. There are a lot of signs.
At the head of the island, there will be a light and a fork in the road. Go left, following Route 3. Tak
Avenue. We are a few hundred yards down the road on the left, the large white farmhouse with Ho

UPON ARRIVAL, please park in my lot, which is behind the inn. Walk inside the house and in the h
posted, and we will come to check you in.

Your confirmation number is: #85044. We have you confirmed for:
  RESERVATION INFORMATION (#85044) - ERIN DOHERTY
                                              203 4171184
                                              Estimated Arrival - 3:00 PM



  St. Sauveur                                                                    $415.00
     Thu, Jun 24, 2021 — 2 Adults — $125.00
     Fri, Jun 25, 2021 — 2 Adults — $125.00
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/02/2021 1-1  Filed
                               4:02:40 PM10/15/21    PageID:
                                          Pg 1 of 3 Trans 196  of 282 PageID: 207
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BARUCH S. GOTTESMAN, ESQ.
185-12 Union Turnpike
Fresh Meadows, NY 11366
Phone: (212) 401-6910
e-mail: bg@gottesmanlegal.com
N.J. Attorney I.D. No. 02222-2006
Counsel for Defendants

TAMAR GRUENBAUM; and                                 SUPERIOR COURT OF NEW JERSEY
TAMAR GRUENBAUM DDS, LLC,                            LAW DIVISION: BERGEN COUNTY
doing business as RIDGEWOOD VALLEY
PEDIATRIC DENTISTRY,                                 Docket No. BER-L -003841-2021

                     Plaintiffs,

      ~ versus ~

SHANALEE ACKERMAN; and
ACKERMAN PRACTICE MANAGEMENT,
LLC

                     Defendants.


TO THE HONORABLE COURT AND COUNSEL FOR THE PLAINTIFFS:

 The Court via NJ eCourts               Counsel for the Plaintiffs via NJ eCourts
 Superior Court of New Jersey           Braverman Kaskey Garber P.C.
 Law Division                           Benjamin A. Garber, Esq.
 10 Main Street                         One Liberty Place, 56th Floor
 Hackensack, NJ 07601                   1650 Market Street
                                        Philadelphia, PA 19103

              PLEASE TAKE NOTICE that the Undersigned counsel for the Defendants that

SHANALEE ACKERMAN; and ACKERMAN PRACTICE MANAGEMENT LLC, hereby

respectfully apply to the Superior Court of New Jersey, Law Division, Bergen County at 10 Main

Street, Hackensack, NJ 07601 for an Order Consolidating this Action with the Matter of

Gruenbaum v. Levine, BER-L-003840-2021.

              PLEASE TAKE NOTICE that in Support of their Application, the Defendants

respectfully rely on the Attached Memorandum of Law in Support by Baruch S. Gottesman, Esq.
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/02/2021 1-1  Filed
                               4:02:40 PM10/15/21    PageID:
                                          Pg 2 of 3 Trans 197  of 282 PageID: 208
                                                             LCV20212039606




              NOTICE: IF YOU WANT TO RESPOND TO THIS MOTION
              YOU MUST DO SO IN WRITING.

              Your written response must be in the form of a certification or
              affidavit. That means that the person signing it swears to the truth of
              the statements in the certification or affidavit and is aware that the
              court can punish him or her if the statements are knowingly false.
              You may ask for oral argument, which means you can ask to appear
              before the court to explain your position. If the court grants oral
              argument, you will be notified of the time, date, and place. Your
              response, if any, must be in writing even if you request oral
              argument. Any papers you send to the court must also be sent to the
              opposing party's attorney, or the opposing party if they are not
              represented by an attorney.

              PLEASE TAKE FURTHER NOTICE that Defendants respectfully request oral

argument if so allowed by the Honorable Court.



DATED:        SEPTEMBER 2, 2021

                                             RESPECTFULLY SUBMITTED,

                                     By:
                                             BARUCH S. GOTTESMAN, ESQ.
                                             New Jersey Attorney I.D. No. 02222-2006
                                             185-12 Union Turnpike
                                             Fresh Meadows, NY 11366*
                                             Phone: (212) 401-6910
                                             e-mail: bg@gottesmanlegal.com
                                             Attorney for Defendants
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/02/2021 1-1  Filed
                               4:02:40 PM10/15/21    PageID:
                                          Pg 3 of 3 Trans 198  of 282 PageID: 209
                                                             LCV20212039606




                           CERTIFICATION OF SERVICE



I, Baruch S. Gottesman, Esq. certify that on September 2, 2021, I sent a copy of this Notice of

Motion, [Proposed] Order and the Memorandum of Law in Support by counsel to the Defendant

Baruch S. Gottesman, Esq., by electronic filing (New Jersey e-courts online system):


DATED:         SEPTEMBER 2, 2021

                                             RESPECTFULLY SUBMITTED,

                                     By:
                                             BARUCH S. GOTTESMAN, ESQ.
                                             New Jersey Attorney I.D. No. 02222-2006
                                             185-12 Union Turnpike
                                             Fresh Meadows, NY 11366*
                                             Phone: (212) 401-6910
                                             e-mail: bg@gottesmanlegal.com
 CaseBER-L-003841-21
      2:21-cv-18714 Document
                     09/02/2021 1-1  Filed
                                4:02:40 PM10/15/21    PageID:
                                           Pg 1 of 3 Trans 199  of 282 PageID: 210
                                                              LCV20212039606




TAMAR GRUENBAUM; and                                   SUPERIOR COURT OF NEW JERSEY
TAMAR GRUENBAUM DDS, LLC,                              LAW DIVISION: BERGEN COUNTY
doing business as RIDGEWOOD VALLEY
PEDIATRIC DENTISTRY,                                   Docket No. BER-L -003840-2021

                     Plaintiffs,

      ~ versus ~
                                                                   [PROPOSED] ORDER
SHANALEE ACKERMAN; and
ACKERMAN PRACTICE MANAGEMENT,
LLC

                     Defendants.



               THIS MATTER having been opened to the Court by the Baruch S.

Gottesman, Esq., of the Law Offices of Baruch Gottesman, Esq., counsel for the

Defendants    SHANALEE         ACKERMAN          and      ACKERMAN          PRACTICE

MANAGEMENT LLC, upon Notice of Motion for an Order to Consolidate this Action

with Gruenbaum, et al. v. Levine, et al., Docket No. BER-L-003840-21;



               THEREFORE, it is on this ___th day of September, 2021, that

               IT IS NOW FURTHER ORDERED pursuant to New Jersey Court Rule

4:38-1 and other relevant provisions of New Jersey law, and for good cause shown, that

this matter is consolidated with the matter of Gruenbaum, et al. v. Levine, et al., Docket

No. BER-L-003840-21; and that the Levine and Ackerman actions shall both proceed on

Track II under the following the Docket No. BER-L-004840-21 matter under the following

amended caption:
 CaseBER-L-003841-21
      2:21-cv-18714 Document
                     09/02/2021 1-1  Filed
                                4:02:40 PM10/15/21    PageID:
                                           Pg 2 of 3 Trans 200  of 282 PageID: 211
                                                              LCV20212039606




TAMAR GRUENBAUM; and                                    SUPERIOR COURT OF NEW JERSEY
TAMAR GRUENBAUM DDS, LLC,                               LAW DIVISION: BERGEN COUNTY
doing business as RIDGEWOOD VALLEY
PEDIATRIC DENTISTRY,                                    Docket No. BER-L -003840-2021

                      Plaintiffs,

       ~ versus ~                                                        CIVIL ACTION

SHANALEE ACKERMAN;
ACKERMAN PRACTICE MANAGEMENT,
LLC; JOSH LEVINE, CPA; and
JOSH LEVINE CPA P.C. doing business as
LEVINE & ASSOCIATES; and
EHCM LLC,

                      Defendants.




               IT IS NOW FURTHER ORDERED, that _________________________

________________________________________________________________________

________________________________________________________________________

               IT IS NOW FURTHER ORDERED, that a copy of this Order be served via

New Jersey e-Courts on all Parties within Seven (7) days of its entry.




                                                     _________________________
                                                                       , J.S.C.

The Motion was
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/02/2021 1-1  Filed
                               4:02:40 PM10/15/21    PageID:
                                          Pg 3 of 3 Trans 201  of 282 PageID: 212
                                                             LCV20212039606




_________ Opposed

_________ Not Opposed
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/02/2021 1-1  Filed
                               4:02:40 PM10/15/21    PageID:
                                          Pg 1 of 7 Trans 202  of 282 PageID: 213
                                                             LCV20212039606



  BARUCH S. GOTTESMAN, ESQ.
  185-12 Union Turnpike
  Fresh Meadows, NY 11366
  Phone: (212) 401-6910
  e-mail: bg@gottesmanlegal.com
  N.J. Attorney I.D. No. 02222-2006
  Counsel for Defendants

  TAMAR GRUENBAUM; and                                SUPERIOR COURT OF NEW JERSEY
  TAMAR GRUENBAUM DDS, LLC,                           LAW DIVISION: BERGEN COUNTY
  doing business as RIDGEWOOD VALLEY
  PEDIATRIC DENTISTRY,                                Docket No. BER-L -003841-2021

                       Plaintiffs,

        ~ versus ~

  SHANALEE ACKERMAN; and
  ACKERMAN PRACTICE MANAGEMENT,
  LLC

                       Defendants.




                MEMORANDUM OF LAW BY DEFENDANTS
                                 IN SUPPORT OF
                         MOTION TO CONSOLIDATE




                     Respectfully Submitted September 2, 2021
                          by Baruch S. Gottesman, Esq.


                                          1
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/02/2021 1-1  Filed
                               4:02:40 PM10/15/21    PageID:
                                          Pg 2 of 7 Trans 203  of 282 PageID: 214
                                                             LCV20212039606




                                             Table of Contents



  I.     Introductory Statement: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

  II.    Factual and Procedural Background . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

  III.   Argument: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5

         a.       The Defendants were not Served . . . . . . . . . 5

         b.       If Service was Proper, then Default
                  Should not be Entered Because of
                  the Defendants’ Excusable Neglect . . . . . . . 6

         c.       If Service was Proper, then Default
                  Should not be Entered Because of
                  the Defendants’ Meritorious Defense . . . . . . . . . 8

                  i.        Fraud is Not Well-Plead
                  ii.       Unjust Enrichment is Not Well Plead
                  iii.      The Allegations in the
                            of the Complaint are Denied in full
                  iv.       This Court has No Jurisdiction
                            Over the Defendants



         d.       The Plaintiffs Will not be Prejudiced . . . . . 10



  IV.    Conclusion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/02/2021 1-1  Filed
                               4:02:40 PM10/15/21    PageID:
                                          Pg 3 of 7 Trans 204  of 282 PageID: 215
                                                             LCV20212039606




  I.     INTRODUCTORY STATEMENT

                  The Defendants learned of the Motion for Entry Default and immediately

  appear now through counsel to oppose this Motion. As described in the Ackerman

  Certificate and explained in this Brief, the Defendants’ junk service to a wrong address

  cannot qualify as “service” for purpose entering a Default against the Defendant.

                  Additionally and in the alternative, if the Honorable Court were to find that

  Service was proper, then the Honorable Court should not Enter a Default because of the

  Defendants’ reasonable excuse and meritorious defense.



  II.    FACTUAL AND PROCEDURAL BACKGROUND

                  The two Gruenbaum cases were filed seriatum. The companion case is

  docketed as BER-L-003840/21 (Gruenbaum v. Levine) and our case which is docketed as

  BER-L-003841/21 (Gruenbaum v. Ackerman). The two cases involve the same Plaintiffs

  and two sets of Defendants who will both be represented by the same counsel

  (the Undersigned).

                  Both cases involve the alleged provision of accounting services by the two

  sets of Defendants and identify the same causes of action. Both cases are assigned to the

  same Justice.

                  And in substance, the cases arise from the same alleged factual issues.

                  The Complaint in this case alleges:

                  “One of the most egregious examples [of Ackerman’s
                  wrongdoing] being Ackerman’s recommendation of an
                  accounting firm, Levine & Associates LLC, whose services
                  were deficient and have resulted in IRS scrutiny in
                  connection with which plaintiffs have suffered financial
                  losses, fees, costs, expenses, and penalties.”


                                        Page 3 of 7
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/02/2021 1-1  Filed
                               4:02:40 PM10/15/21    PageID:
                                          Pg 4 of 7 Trans 205  of 282 PageID: 216
                                                             LCV20212039606




                 Complaint at ¶ 44.

                 The supposedly “deficient” services provided by Levine & Associates LLC

  are the key issue in the Gruenbaum v. Levine, BER-L-003840/21 case.

                 The division of the single fact pattern into two cases may result in entirely

  inconsistent rulings. The “most egregious” example of wrongdoing allege din this case are

  the same issue in the Levine. If the cases are not consolidated, the same nucleus of

  operative facts will be adjudicated in two separate proceedings, with potential conflicting

  decisions and findings.

                 For this reason and as argued in this Memorandum of Law, consolidation is
  appropriate.




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                                       Page 4 of 7
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/02/2021 1-1  Filed
                               4:02:40 PM10/15/21    PageID:
                                          Pg 5 of 7 Trans 206  of 282 PageID: 217
                                                             LCV20212039606




  III.   ARGUMENT:

         A.     THE CASES SHOULD BE CONSOLIDATED

                 The Rules Provide:

                 “When actions involving a common question of law or fact
                 arising out of the same transaction or series of transactions
                 are pending in the Superior Court, the court on a party's or
                 its own motion may order the actions consolidated.”

                 N.J. Court Rules, R. 4:38-1

                 A key consideration is whether, “absent consolidation, two juries could

  reach inconsistent verdicts if the jury in the first action plaintiff’s [damage] to the injuries

  sustained in the second accident, and jury in the second action attributes the plaintiff’s

  [damage] to the injuries she sustained in the first accident”. Moraes v. Wesler, 439 N.J.

  Super 375, 379, 109 A3d 218, 221 (App.Div. 2015). See also Ajpacaja .v Pro-Line Bldrs.,

  Docket No. A-3699-18T2, 2020 N.J. Super. Unpub. LEXIS 2022, at *6 (App.Div. Oct. 20,

  2020)(“Our court rules and case law strive to avoid piecemeal decisions. For example, the

  entire controversy doctrine seeks to assure that all aspects of a legal dispute occur in a

  single lawsuit. The goal is to promote judicial efficiency, assure fairness to all parties with

  a material interest in an action, and encourage the conclusive determination of a legal

  controversy.” (citations omitted)).

                  The Complaint in this case alleges that:

                 “[o]ne of the most egregious examples [of Ackerman’s
                 wrongdoing] being Ackerman’s recommendation of an
                 accounting firm, Levine & Associates LLC, whose services
                 were deficient and have resulted in IRS scrutiny in
                 connection with which plaintiffs have suffered financial
                 losses, fees, costs, expenses, and penalties.”

                 Gruenbaum v. Ackerman, Docket No. 003841-2021, Complaint at ¶ 44.



                                         Page 5 of 7
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/02/2021 1-1  Filed
                               4:02:40 PM10/15/21    PageID:
                                          Pg 6 of 7 Trans 207  of 282 PageID: 218
                                                             LCV20212039606




                 The allegation that Levine & Associates’ services were deficient are also

  the basis for the claims in this case. See Complaint in Gruenbaum v. Levine, Docket No.

  3840-2021 at ¶¶ 39, 53, et passim.

                 Let’s transport ourselves into the conference room as the Jury considers the

  trial they just observed in this case. Our Jury will naturally find that Ackerman Practice

  Management LLC did not act wrongly and their services were not deficient. Across the

  hallway, though, the Levine trial has concluded and the Levine Jury is considering the exact

  same factual questions. Let’s imagine that the Levine jury reaches the opposite conclusion

  as their friends across the hall – the Levine jury concludes as a factual matter that Levine’s

  services were deficient.

                 The bell rings and the two juries return with their verdict.

                 The Ackerman jury announces as a factual matter that the services were not

  deficient. Their friends across the hall in the Levine jury find that the services were

  deficient. Where does that leave the parties?

                 Plainly, the two cases which are premised on the same nucleus of operative

  facts belong in the same Courtroom, before the same Judge, and in a single action where

  the two sets of Defendants can put forth a joint defense covering the same legal and factual

  questions. This will allow the legal conclusions during Motion practice, and factual

  conclusions of the factfinder will be consistent.

                 For these reasons, the Defendants with the consent of the Levine Defendants

  (who are represented by the undersigned counsel and have separately moved for

  Consolidation) respectfully move to consolidate the two actions under the 3841/21 Docket

  Number. A proposed Order is filed simultaneously with this Memo.




                                        Page 6 of 7
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/02/2021 1-1  Filed
                               4:02:40 PM10/15/21    PageID:
                                          Pg 7 of 7 Trans 208  of 282 PageID: 219
                                                             LCV20212039606




                 IV.     CONCLUSION


                 For the reasons described above, the Defendants respectfully submit that the

  two cases should be consolidated. A proposed Order is submitted contemporaneously with

  the filing of this Motion.




  DATED:         SEPTEMBER 2, 2021

                                               RESPECTFULLY SUBMITTED,

                                       By:
                                               BARUCH S. GOTTESMAN, ESQ.
                                               New Jersey Attorney I.D. No. 02222-2006
                                               185-12 Union Turnpike
                                               Fresh Meadows, NY 11366*
                                               Phone: (212) 401-6910
                                               e-mail: bg@gottesmanlegal.com
                                               Attorney for Defendants




                                       Page 7 of 7
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/02/2021 1-1  Filed
                               4:02:40 PM10/15/21    PageID:
                                          Pg 1 of 1 Trans 209  of 282 PageID: 220
                                                             LCV20212039606




BARUCH S. GOTTESMAN, ESQ.
185-12 Union Turnpike
Fresh Meadows, NY 11366
Phone: (212) 401-6910
e-mail: bg@gottesmanlegal.com
N.J. Attorney I.D. No. 02222-2006
Counsel for Defendants

TAMAR GRUENBAUM; and                                     SUPERIOR COURT OF NEW JERSEY
TAMAR GRUENBAUM DDS, LLC,                                LAW DIVISION: BERGEN COUNTY
doing business as RIDGEWOOD VALLEY
PEDIATRIC DENTISTRY,                                     Docket No. BER-L -003841-2021

                      Plaintiffs,

       ~ versus ~

SHANALEE ACKERMAN; and
ACKERMAN PRACTICE MANAGEMENT,
LLC

                      Defendants.


                            CERTIFICATION OF SERVICE



I, Baruch S. Gottesman, Esq. certify that on September 2, I sent a copy of this Notice of Motion,

[Proposed] Order, and the Memorandum of Law in Support by counsel to the Defendants, by

electronic filing (New Jersey e-courts online system):


DATED:         SEPTEMBER 2, 2021

                                             RESPECTFULLY SUBMITTED,

                                     By:
                                             BARUCH S. GOTTESMAN, ESQ.
                                             New Jersey Attorney I.D. No. 02222-2006
                                             185-12 Union Turnpike
                                             Fresh Meadows, NY 11366*
                                             Phone: (212) 401-6910
                                             e-mail: bg@gottesmanlegal.com
CaseBER-L-003841-21
     2:21-cv-18714 Document
                    09/07/2021 1-1  Filed
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                                          Pg 1 of 8 Trans 210  of 282 PageID: 221
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                         Attorneys for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                        BERGEN COUNTY

                     Plaintiffs,              Docket No. BER-L-003841-21

                v.

  SHANALEE ACKERMAN                           REPLY BRIEF IN SUPPORT OF
  and                                         MOTION FOR ENTRY OF
  ACKERMAN PRACTICE                           DEFAULT JUDGMENT
  MANAGEMENT, LLC,

                     Defendants.

      Plaintiffs Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC, d/b/a

Ridgewood Valley Pediatric Dentistry (“Plaintiffs”), by their undersigned counsel,

file this reply brief in support of their Motion for entry of Default Judgment against

defendants Shanalee Ackerman (“Ackerman”) and Ackerman Practice Management,

LLC (“APM”), and state as follows:

      1.     Defendants Have Not Moved to Open the Entry of Default

      Default has been entered against Ackerman and APM pursuant to N.J. Court

Rule 4:43-1 (on August 17, 2021). New Jersey Court Rule 4:43-3 provides that for

“good cause shown” a court may set aside an entry of default upon a motion by the
    CaseBER-L-003841-21
         2:21-cv-18714 Document
                        09/07/2021 1-1  Filed
                                   8:20:27 PM10/15/21    PageID:
                                              Pg 2 of 8 Trans 211  of 282 PageID: 222
                                                                 LCV20212068200




defaulted party that “shall be accompanied” by either an answer to the complaint

and CIS or a dispositive motion pursuant to R. 4:6-2. Defendants have not moved

(or cross-moved) to set aside the entry of default. Even if their “Memorandum of

Law by Defendants in Opposition to Motion to Enter Default” (“Memorandum”) filed

September 2, 2021, were accepted as a cross-motion to set aside the entry of default,

it is not accompanied by an answer to the complaint or a R. 4:6-2 dispositive

motion, as required. 1

         2.    Defendants Fail to Satisfy Rule 4:50

         New Jersey Court Rule 4:50 (“Relief From Judgment or Order”) provides, in

relevant part, that “on motion, with briefs” a court may relieve a party from a final

judgment for “mistake, inadvertence, surprise of excusable neglect.” A default

judgment will not be disturbed unless the failure to answer or otherwise appear and

defend was excusable under the circumstances and the defendant has a meritorious

defense (either to the cause of action itself or, if liability is not disputed, to the

quantum of damages assessed. US Bank Nat. Ass’n v. Guillame, 209 N.J. 449, 468-

9 (2012). Putting aside that a default judgment has yet to be entered, as before,

there is no motion or cross-motion by defendants’ seeking relief under Rule 4:50.

And even if their Memorandum is construed as such a motion or cross-motion,

defendants fail to demonstrate “mistake, inadvertence, surprise of excusable

neglect” or a meritorious defense.




1It hints at a dispositive motion to be filed against two of the five counts in the complaint. See
Memorandum at 9-10.

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    CaseBER-L-003841-21
         2:21-cv-18714 Document
                        09/07/2021 1-1  Filed
                                   8:20:27 PM10/15/21    PageID:
                                              Pg 3 of 8 Trans 212  of 282 PageID: 223
                                                                 LCV20212068200




         No “Excusable Neglect”

         Defendants argue “excusable neglect” as a basis for opposing entry of default

judgment. Specifically, defendants state that while Ackerman “heard rumors” of

this lawsuit, she “misunderstood” that this action had been “Stayed” pending the

outcome of “an ongoing matrimonial action between the Plaintiff and her (ex)

husband in New York.” See Ackerman “Certification” dated September 1, 2021 (the

“Certification”) at pars. 23-24 and 26. Ackerman’s counsel argues this was

“excusable neglect.” Memorandum, p.7. Excusable neglect has been defined as

excusable carelessness “attributable to an honest mistake that is compatible

with due diligence or reasonable prudence.” Mancini v. EDS, 132 N.J. 330,

335 (1993). But Ackerman offers no explanation why she mistakenly believed this

action had been stayed (pending a divorce proceeding in New York, no less), and,

not surprisingly, no reason why that absurd mistaken belief is compatible with

either due diligence or reasonable prudence. 2

         Plainly, Ackerman is not like the defendant in Bergen-Eastern Corp. v. Koss,

178 N.J. Super. 42 (App. Div.), appeal dism’d 88 (N.J. 499 (1981), where the court

affirmed a finding of excusable neglect by an aged widow with a psychiatric history

who did not appreciate the import of service of a tax foreclosure complaint. By all

(self) accounts, Ackerman is neither aged nor lacking in mental capacity. See APM

website, including bio of Ackerman, attached hereto as Exhibit A (web address:



2 Of course, her statement that she developed this mistaken belief after having “heard rumors” of the
instant action is clearly incompatible with her contention that she never was served with the
summons and complaint. This is further developed infra.

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                                          Pg 4 of 8 Trans 213  of 282 PageID: 224
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ackermanpracticemanagement.com/about). Instead, Ackerman is more like the

defendant in Deutche Bank Nat. Trust v. Russo, 429 N.J. Super. 91, 98-99 (App. Div.

2012), where the court found no excusable neglect based upon an unsupported

statement that the defendant believed, based on the loan servicer’s representation,

that there was no need to answer or defend the foreclosure action.

      No Meritorious Defense

      As seen, a default judgment will not be disturbed under Rule 4:50 unless the

failure to answer or otherwise appear and defend was excusable under the

circumstances and the defendant has a meritorious defense. After all, "[i]t would

create a rather anomalous situation if a judgment were to be vacated on the ground

of mistake, accident, surprise or excusable neglect, only to discover later that the

defendant had no meritorious defense. The time of the courts, counsel and litigants

should not be taken up by such a futile proceeding." US Bank Nat. Ass'n v.

Guillaume, 209 N.J. 449, 469 (2012), quoting Schulwitz v. Shuster, 27 N.J. Super.

554, 561 (App.Div.1953).

      Defendants founder on this second prong as well, as the absolute best they

can muster with respect to Counts I through IV and VII of the Complaint is

Ackerman’s bald statement that “the allegations in the Complaint about my alleged

wrongdoing are entirely untrue and I deny them completely.” Declaration, par. 28;

see also Memorandum, p. 10 (“Defendants deny the substantive claims of the

Complaint”). Simply put, such a bald denial is just not good enough. E.g.,

Lockwood v. Lockwood, 2020 N.J. Super. Unpub. Lexis 1179, *7 (App. Div. June 18,



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                                          Pg 5 of 8 Trans 214  of 282 PageID: 225
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2020) (“A meritorious defense need be more than a bald denial …”); Carrano v.

Dibizheva, 2011 N.J. Super. Unpub. Lexis 929, *20-21 (App. div. April 14, 2011 (“…

the bald denial of a plaintiff's complaint is usually insufficient to demonstrate that

a meritorious defense exists”), citing 10 James W. Moore et al., Moore's Federal

Practice - Civil ¶ 55.70[2] (3d ed. 2011) ("While the burden is not high, mere denials

or conclusory allegations are not sufficient.").

      4.     Defendants Were Served With Process

      Defendants’ opposition based on lack of in personam jurisdiction (i.e., no

effective service) is unavailing since on June 24, 2021 Ackerman and APM were

served with the summons and complaint in the New York City building (775 York

Avenue) where Ackerman, APM’s registered agent, resides. This is evidenced by

return receipt cards from the post-office showing a scrawled handwritten signature

on a line directly above a line containing the hand-printed name “S. Ackerman.”

See Affidavits of Service filed July 9, 2021, Exhibits B and C hereto. Service by

certified mail was made only after the doorman at the building turned away

Plaintiffs’ process server, the details of which are described with specificity in

Exhibit 2 to Plaintiffs’ Motion for Entry of Default Judgment. This was, in all

aspects, proper and effective service as provided for in Rule 4:4-4(b) (1), which

states, in relevant part, that if it appears by affidavit satisfying the requirements of

R. 4:4-5(b) that personal service cannot be made by personal service in the State of

New Jersey, in personam jurisdiction may be obtained by:

      (C) mailing a copy of the summons and complaint by registered or
      certified mail, return receipt requested, and, simultaneously, by

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         2:21-cv-18714 Document
                        09/07/2021 1-1  Filed
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                                              Pg 6 of 8 Trans 215  of 282 PageID: 226
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         ordinary mail to: (1) a competent individual of the age of 14 or over,
         addressed to the individual’s dwelling house or usual place of abode
         …. 3

         Notably, Ackerman does not contend that 775 York Avenue, New York City

is not her dwelling house or usual place of abode. Moreover, she herself supplies

proof (Exhibit A to her Certification) that she is the registered agent of AFM.

Instead, Ackerman asserts that the unit/apartment number in the mailing address

was incorrect and that she did not sign the return receipt card. Plainly, it is

irrelevant whether the apartment number in the address was correct if Ackerman

herself signed for the process. Further, close examination of her Certification leads

to the conclusion that, as the return receipt cards indicate, it was indeed Ackerman

who signed for the certified delivery of process.

         In this regard, one starts from Ackerman’s admission that she “heard

rumors” of this lawsuit. Plaintiffs submit that the only logical way for Ackerman to

have “heard” such a “rumor” is to have read the complaint herself; her vague

statement is nothing more or less than extremely careful draftsmanship in an

attempt to avoid outright perjury. Further, Ackerman goes on to state that: “If the

service was valid, then my failure to respond earlier was based on my

understanding that I was not served …” Certification, par. 27. But the only

rational way for Ackerman to “understand that [she] was not served” was to have

signed for the certified delivery, opened it, read the summons and complaint, and


3  Defendants cite Sarmiento v. St. Mary’s Hospital Passaic, 2012 U.S. Dist. Lexis 95998 (D.N.J.
July 10, 2012) for the proposition that Plaintiffs’ “inquiry” was insufficiently “diligent.” Sarmiento is
easily distinguished, however, since in that case plaintiffs moved the court to allow substituted
service on the defendant’s insurer.

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then come to the incorrect conclusion – by herself or with the assistance of a friend

(or counsel) – that the service was not legally effective. 4

         Moreover, and in any event, effective service of process upon Ackerman and

APM was also made by certified mail, return receipt requested, at the Florida

address provided by here in Exhibit A to Certification, i.e., the “2021 Florida

Limited Liability Company Reinstatement.” This document lists APM’s current

principal place of business and current mailing address as 13867 Jeremiah Road,

Jacksonville, Florida. It also lists Ackerman as the “current registered agent” at the

same address. Attached hereto as Exhibit D are the signed return receipt cards for

both Ackerman and APM. While not noted on the cards, the certified mailings were

delivered on June 29, 2021 at 10:49 am, as shown on the USPS Tracking Report

attached hereto as Exhibit E. Thus, even if service of process at the 775 York

Street, NYC address, is deemed defective, the same claim cannot be made for the

delivery at the Florida address.




4  Ackerman also claims to have been vacationing in Maine on June 24 and attaches what purports
to be a reservation confirmation email dated April 27, 2021 for the aforementioned date (although
the date is, for the most part, cut off of the exhibit). However, the email purports to be from the
Holland Inn of Bar Harbor to erin.doherty@gmail.com. Ackerman’s name is not Erin Doherty, nor
does she make any attempt to explain this rather glaring discrepancy.

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      5.    Conclusion

      For the reasons set forth above and in Plaintiffs’ Motion for Default

Judgment, Plaintiffs respectfully request that the Court enter judgment against

Ackerman and APM, as requested in the Motion.

                                             Respectfully submitted,

Dated: September 7, 2021                     BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801

                                             Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                     Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                        BERGEN COUNTY
                Plaintiffs,
                                              Docket No. BER-L-003841-21
                v.
                                              AFFIDAVIT OF SERVICE BY
  SHANALEE ACKERMAN and                       CERTIFIED MAIL UPON
  ACKERMAN PRACTICE                           SHANALEE ACKERMAN
  MANAGEMENT, LLC,
              Defendants.

      I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6089), return receipt requested, postage prepaid, to defendant Shanalee

Ackerman (“Defendant”) at her residence located at 1775 York Avenue, #32A, New

York, New York 10128.

      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.
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      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Defendant’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                       __________________________________
                                       Domenic J. Marano, Paralegal




Dated: July 9, 2021                    BRAVERMAN KASKEY GARBER PC

                                 BY:    /s/ Benjamin A. Garber
                                       BENJAMIN A. GARBER, ESQUIRE
                                       One Liberty Place- 56th Floor
                                       1650 Market Street
                                       Philadelphia, Pennsylvania 19103
                                       Telephone: (215) 575-3800
                                       Facsimile: (215) 575-3801
                                       Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                              Attorney for Plaintiffs

     TAMAR GRUENBAUM; and
     TAMAR GRUENBAUM DDS, LLC,                      SUPERIOR COURT OF NEW
     d/b/a RIDGEWOOD VALLEY                         JERSEY, LAW DIVISION
     PEDIATRIC DENTISTRY,                           BERGEN COUNTY
                   Plaintiffs,
                                                    Docket No. BER-L-003841-21
                    v.
                                                    AFFIDAVIT OF SERVICE BY
     SHANALEE ACKERMAN and                          CERTIFIED MAIL UPON
     ACKERMAN PRACTICE                              ACKERMAN PRACTICE
     MANAGEMENT, LLC,                               MANAGEMENT, LLC
                 Defendants.

          I, Domenic J. Marano, a competent adult being duly sworn according to law,

depose and state that on June 21, 2021, I mailed a true and correct copy of

Plaintiffs’ Complaint with Jury Demand, Civil Action Summons, Civil Case

Information Statement, and Track Assignment Notice (“Complaint Documents”)

filed in the above-captioned case by U.S. Certified Mail (Article Number 7013 1710

0000 4816 6096), return receipt requested, postage prepaid, to defendant Ackerman

Practice Management, LLC (“Defendant”) in care of Shanalee Ackerman at Ms.

Ackerman’s residence located at 1775 York Avenue, #32A, New York, New York

10128. 1




1
    Ms. Ackerman is believed to be the Founder and CEO of Ackerman Practice Management, LLC.
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      A true and correct copy of the U.S. Postal Service Form 3800, Certified Mail

Receipt, date stamped with a mailing date of June 21, 2021, addressed to the

Defendant, is attached hereto as Exhibit A.

      On June 24, 2021, the U.S. Postal Service delivered the Complaint

Documents upon the Defendant. A true and correct copy of the U.S. Postal Service

Form 3811, Certified Mail Return Receipt Card, addressed to the Defendant,

showing Ms. Ackerman’s signature and date of delivery of June 24, 2021 is attached

hereto as Exhibit B.

      I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.




                                       __________________________________
                                       Domenic J. Marano, Paralegal




Dated: July 9, 2021                    BRAVERMAN KASKEY GARBER PC

                                 BY:    /s/ Benjamin A. Garber
                                       BENJAMIN A. GARBER, ESQUIRE
                                       One Liberty Place- 56th Floor
                                       1650 Market Street
                                       Philadelphia, Pennsylvania 19103
                                       Telephone: (215) 575-3800
                                       Facsimile: (215) 575-3801
                                       Attorneys for Plaintiffs



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                                                 Track Another Package                   +




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   Tracking Number: 70131710000048166553

   Your item was delivered to the front desk, reception area, or mail room at 10:49 am on June 29,
   2021 in JACKSONVILLE, FL 32224.




           Delivered, Front Desk/Reception/Mail Room
   June 29, 2021 at 10:49 am
   JACKSONVILLE, FL 32224


   Get Updates




       Text & Email Updates


       Tracking History


       June 29, 2021, 10:49 am
       Delivered, Front Desk/Reception/Mail Room
       JACKSONVILLE, FL 32224
       Your item was delivered to the front desk, reception area, or mail room at 10:49 am on June 29, 2021 in
       JACKSONVILLE, FL 32224.



       June 26, 2021, 11:00 am
       Notice Left (No Authorized Recipient Available)
       JACKSONVILLE, FL 32224




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       June 25, 2021, 10:53 pm
       Departed USPS Regional Facility
       JACKSONVILLE FL DISTRIBUTION CENTER



       June 25, 2021, 1:17 pm
       Arrived at USPS Regional Facility
       JACKSONVILLE FL DISTRIBUTION CENTER



       June 24, 2021
       In Transit to Next Facility



       June 23, 2021, 11:50 pm
       Arrived at USPS Regional Facility
       PHILADELPHIA PA DISTRIBUTION CENTER




       Product Information



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                                 Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


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                                                 Track Another Package                  +




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   Tracking Number: 70131710000048166287

   Your item was delivered to the front desk, reception area, or mail room at 10:49 am on June 29,
   2021 in JACKSONVILLE, FL 32224.




           Delivered, Front Desk/Reception/Mail Room
   June 29, 2021 at 10:49 am
   JACKSONVILLE, FL 32224


   Get Updates




       Text & Email Updates


       Tracking History


       June 29, 2021, 10:49 am
       Delivered, Front Desk/Reception/Mail Room
       JACKSONVILLE, FL 32224
       Your item was delivered to the front desk, reception area, or mail room at 10:49 am on June 29, 2021 in
       JACKSONVILLE, FL 32224.



       June 26, 2021, 11:00 am
       Notice Left (No Authorized Recipient Available)
       JACKSONVILLE, FL 32224




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       June 26, 2021, 2:55 am
       Departed USPS Regional Facility
       JACKSONVILLE FL DISTRIBUTION CENTER



       June 25, 2021, 1:17 pm
       Arrived at USPS Regional Facility
       JACKSONVILLE FL DISTRIBUTION CENTER



       June 24, 2021
       In Transit to Next Facility



       June 23, 2021, 11:49 pm
       Arrived at USPS Regional Facility
       PHILADELPHIA PA DISTRIBUTION CENTER




       Product Information



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                                 Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                      Attorney for Plaintiffs

 TAMAR GRUENBAUM; and
 TAMAR GRUENBAUM DDS, LLC,                     SUPERIOR COURT OF NEW
 d/b/a RIDGEWOOD VALLEY                        JERSEY, LAW DIVISION
 PEDIATRIC DENTISTRY,                          BERGEN COUNTY

                    Plaintiffs,                Docket No. BER-L-003841-21

               v.

 SHANALEE ACKERMAN
 and
 ACKERMAN PRACTICE
 MANAGEMENT, LLC,

                    Defendants.

                          CERTIFICATION OF SERVICE

      I hereby certify that on the date below, the within Reply Brief in Support of

Motion for Entry of Default Judgment was filed and served via the Court’s

electronic filing system upon the following:

                           Baruch S. Gottesman, Esquire
                              185-12 Union Turnpike
                          Fresh Meadows, New York 11366
                              bg@gottesmanlegal.com
                              Attorney for Defendants
CaseBER-L-003841-21
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                                                             LCV20212068200




      I hereby certify that the foregoing statements made by me are true. I am

aware that if any of the foregoing statements made by me are willfully false, I am

subject to punishment.


                                             Respectfully submitted,

Dated: September 7, 2021                     BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                             Attorneys for Plaintiffs




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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                       Attorneys for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                        BERGEN COUNTY

                      Plaintiffs,             Docket No. BER-L-003841-21

                v.
                                              RESPONSE IN OPPOSITION TO
  SHANALEE ACKERMAN                           THE MOTION TO CONSOLIDATE
  and
  ACKERMAN PRACTICE
  MANAGEMENT, LLC,

                      Defendants.

      Plaintiffs Tamar Gruenbaum (“Dr. Gruenbaum”) and Tamar Gruenbaum

DDS, LLC, d/b/a Ridgewood Valley Pediatric Dentistry (the “Practice”; collectively,

the “plaintiffs”), by their undersigned counsel, hereby file this Memorandum of Law

in support of its response in opposition to the Motion to Consolidate filed by

defendants Shanalee Ackerman (“Ackerman”) and Ackerman Practice Management,

LLC (“APM”; collectively, the “defendants”) (the “Motion”).




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                                             ARGUMENT

          A. THE MOTION TO CONSOLIDATE SHOULD BE DENIED

          Defendants request that the Court consolidate this case with a separate

action—Gruenbaum v. Levine, docket no. BER-L-003840-21 (the “Levine Case”)1—

where final judgment has been entered in favor of plaintiffs against different

defendants.

          i. Because the Levine Case is Over Consolidation is Not Warranted

          In the Levine Case, this Court entered a final judgment by default against

Levine defendants on August 27, 2021. 2 Therefore, the Levine Case is over. In

contrast, this case is at its inception with Ackerman presently avoiding service of

the Complaint and her counsel apparently refusing to accept service. Because final

judgment has been entered in the Levine Case, consolidation is unwarranted.

          ii. In the Alternative, Consolidation is Not Proper because there are No
              Common Questions of Fact or Law

          The defendants in the Levine Case have filed a Motion to vacate the final

judgment entered by default and restore the case to the Trial Calendar. As

plaintiffs argued in their response to that motion, the final judgment in the Levine

Case should stand. However, if the Court is inclined to vacate the judgment in the

Levine Case, consolidation of that case with this case is still not proper.




1   A true and correct copy of the Levine complaint is attached hereto as Exhibit “A”.
2   A true and correct copy of the order entering final judgment is attached hereto as Exhibit “B”.

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CaseBER-L-003841-21
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                                           Pg 3 of 5 Trans 250 of 282 PageID: 261
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      Consolidation is proper only where two or more actions “involving a common

question of law or fact arising out of the same transaction or series of transactions

are pending in the Superior Court.” N.J. Court Rules, R. 4:38-1.

      The two actions do not involve common questions of law or fact and do not

arise out of the same transaction. Here, plaintiffs hired the Ackerman defendants

to provide business management consulting services, including “provid[ing]

plaintiffs with expert guidance on a variety of issues, including finances and

marketing, team structure, clinical protocols, business decisions and protocols,

insurance billing and practices, and case acceptance systems.” Compl. ¶ 20, 29. In

the Levine Case, plaintiffs hired the Levine defendants to “handle all the Practice’s

accounting and tax needs, including, but not limited to, preparing, and timely filing

all federal and state tax returns, handling its payroll taxes, maintaining its

QuickBooks, and preparing quarterly profit and loss statements.” Levine Compl. ¶¶

19, 24.

      The defendants in each case, thus, were hired to provide entirely different

services and take entirely different actions.

      Moreover, the wrongful conduct of the defendants, and accordingly the

damages flowing therefrom, occurred in separate and distinct transactions. Here,

Ackerman defendants, among other things, botched the Practices’ insurance

participation, retroactively modified insurance billing entries, deleted the Practice’s

insurance billing archive, harassed and abused employees of the Practice, and




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CaseBER-L-003841-21
     2:21-cv-18714 Document    1-1 Filed
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caused significant patient attrition by communicating with patients in an

aggressive manner. Compl. ¶¶ 31, 33, 36, 47, 52.

      In the Levine case, the Levine defendants, among other things, botched Dr.

Gruenbaum’s personal 2019 tax returns, made egregious mistakes in connection

with the Practice’s 2019 taxes, failed to file IRS Form 941s, and failed to accurately

report the Practice’s employment tax liability to the State of New Jersey. Levine

Compl. ¶¶ 35, 37, 38, 40.

      In short, the Ackerman defendants’ wrongful conduct is irrelevant to the

Levine defendants’ wrongful conduct and vice versa.

      Movants’ assertion—without explanation—that that the two cases are

“premised on the same nucleus of operative facts” is simply untrue. The only

overlap between the cases, which defendants place undue emphasis on, is that Ms.

Ackerman is the individual who recommended that plaintiffs retain Mr. Levine.

This does not support consolidating the cases given their clear differences.

      In sum, there is no basis for consolidating the cases as there are no common

issues of law or fact and the actions giving rise to the respective lawsuits were not

part of the same transaction or occurrence. Consolidating the cases would serve no

purpose and would unduly confuse a jury. See Castro v. Guerra, 2018 N.J. Super.

Unpub. LEXIS 7033, at *11 (Bergen Cty. Super. Sept. 15, 2018) (denying a motion

to consolidate where doing so would unduly confuse the jury and the matters did not

involve common questions of fact and law).




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CaseBER-L-003841-21
     2:21-cv-18714 Document    1-1 Filed
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IV. CONCLUSION

      Plaintiffs respectfully request that the Motion to Consolidate be denied

because (A) a final judgment has been entered in the Levine Case and therefore the

case is over or (B) to the extent the Court vacates the final judgment, because there

are no common issues of law or fact between the actions, the actions giving rise to

the respective lawsuits were not part of the same transaction or occurrence, and

consolidating the cases would serve no purpose and would unduly confuse a jury.

                                              Respectfully submitted,

Dated: September 16, 2021                     BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                              Attorneys for Plaintiffs




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Case 2:21-cv-18714 09/16/2021
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                                        Pg 1 of 19 Page
                                                   Trans 253  of 282 PageID: 264
                                                         ID: LCV20212149907




               Exhibit A
     Case 2:21-cv-18714 09/16/2021
        BER-L-003841-21
         BER-L-003840-21 Document   1-1  Filed
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                                               Pg 2
                                                  1 of 19 Page
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                                                          TransID:   of 282 PageID: 265
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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Josh Levine, CPA, Josh Levine CPA PC d/b/a
  Levine & Associates, and EHCM LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex,
P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
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Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:                Josh Levine, CPA
Address of Defendant to Be Served: 135 Rockaway Turnpike, Suite 111, Lawrence,                             11559


Revised 11/17/2014, CN 10792-English (Appendix XII-A)
     Case 2:21-cv-18714 09/16/2021
        BER-L-003841-21
         BER-L-003840-21 Document   1-1  Filed
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                                               Pg 3
                                                  1 of 19 Page
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                                                          TransID:   of 282 PageID: 266
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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
 d/b/a Ridgewood Valley Pediatric Dentistry,
          Plaintiff(s)
                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
 Josh Levine, CPA, Josh Levine CPA PC d/b/a
  Levine & Associates, and EHCM LLC
          Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

      The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
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Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
it is filed. You must also send a copy of your answer or motion to plaintiff's attorney whose name and address appear above,
or to plaintiff, if no attorney is named above. A telephone call will not protect your rights; you must file and serve a written
answer or motion (with fee of $175.00 and completed Case Information Statement) if you want the court to hear your
defense.

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the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
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http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:                Josh Levine, CPA P.C. d/b/a Levine & Associates
Address of Defendant to Be Served: 135 Rockaway Turnpike, Suite 111, Lawrence,                             11559


Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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         BER-L-003840-21 Document   1-1  Filed
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                                                         SUMMONS
Attorney(s) Benjamin A. Garber, Esq. / ID#011382009
                                                                                   Superior Court of
Office Address Braverman Kaskey Garber PC
Town, State, Zip Code One Liberty Place, 56th Floor                                   New Jersey
                           Philadelphia, PA 19103                                        Bergen County
Telephone Number          215-575-3800                                                   Law    Division
Attorney(s) for Plaintiff Tamar Gruenbaum et al.                           Docket No:
 Tamar Gruenbaum and Tamar Gruenbaum DDS, LLC
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                                                                                    CIVIL ACTION
    vs.                                                                               SUMMONS
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  Levine & Associates, and EHCM LLC
          Defendant(s)

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http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.) If the complaint is one in foreclosure, then you must file your
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P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
Information Statement (available from the deputy clerk of the Superior Court) must accompany your answer or motion when
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     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
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A directory with contact information for local Legal Services Offices and Lawyer Referral Services is available in the Civil
Division Management Office in the county listed above and online at
http://www.njcourts.gov/forms/10153_deptyclerklawref.pdf.

                                                                         /s/ Michelle M. Smith
                                                                          Clerk of the Superior Court

DATED:       June 14, 2021
Name of Defendant to Be Served:                EHCM LLC
Address of Defendant to Be Served: 123 Grove Ave., Suite 101, Cedarhurst,                         11516


Revised 11/17/2014, CN 10792-English (Appendix XII-A)
  Case 2:21-cv-18714 09/16/2021
     BER-L-003841-21
      BER-L-003840-21 Document   1-1  Filed
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                                                                 LCV20212149907




                        Civil Case Information Statement
Case Details: BERGEN | Civil Part Docket# L-003840-21

Case Caption: GRUENBAUM TAMAR VS LEVINE JOSH                     Case Type: CONTRACT/COMMERCIAL TRANSACTION
Case Initiation Date: 06/14/2021                                 Document Type: Complaint with Jury Demand
Attorney Name: BENJAMIN ALEX GARBER                              Jury Demand: YES - 12 JURORS
Firm Name: BRAVERMAN KASKEY PC                                   Is this a professional malpractice case? NO
Address: 1650 MARKET STREET 56TH FL ONE LIBERTY                  Related cases pending: NO
PLACE                                                            If yes, list docket numbers:
PHILADELPHIA PA 191037334                                        Do you anticipate adding any parties (arising out of same
Phone: 2155753800                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : Gruenbaum, Tamar
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: Tamar Gruenbaum? NO

(if known): None
                                                                 Are sexual abuse claims alleged by: Tamar Gruenbaum DDS, LLC?
                                                                 NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Business
Does the statute governing this case provide for payment of fees by the losing party? NO
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

06/14/2021                                                                                 /s/ BENJAMIN ALEX GARBER
Dated                                                                                                         Signed
Case 2:21-cv-18714 09/16/2021
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                    Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                 SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                    JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                      BERGEN COUNTY
  385 S Maple Ave, #107
  Glen Rock, NJ 07452                       Docket No. ___________
                    Plaintiffs,
                                            COMPLAINT AND JURY DEMAND
                v.                          DESIGNATION OF TRIAL
                                            COUNSEL, AND CERTIFICATIONS
  JOSH LEVINE, CPA                          UNDER RULES 1:38-7(b) and 4:5-1
  135 Rockaway Turnpike, Suite 111,
  Lawrence, NY 11559; and

  JOSH LEVINE CPA P.C. d/b/a LEVINE
  & ASSOCIATES,
  135 Rockaway Turnpike, Suite 111,
  Lawrence, NY 11559; and

  EHCM LLC
  123 Grove Ave
  Suite 101
  Cedarhurst, NY 11516
                     Defendants.

      Plaintiffs Tamar Gruenbaum, DDS (“Dr. Gruenbaum”) and Tamar

Gruenbaum DDS, LLC d/b/a Ridgewood Valley Pediatric Dentistry (the “Practice”),

by and through their undersigned counsel, brings this Complaint against

defendants Josh Levine, CPA, Josh Levine CPA P.C. d/b/a Levine & Associates, and

EHCM LLC (collectively, the “defendants”), as follows:
Case 2:21-cv-18714 09/16/2021
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   BER-L-003840-21 Document   1-1 Filed
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                           PRELIMINARY STATEMENT

       1.     Dr. Gruenbaum is the owner of a local pediatric dental practice.

Defendants were engaged for purposes of providing accounting and tax related

services to plaintiffs.

       2.     Among other things, defendants agreed to handle all the Practice’s

accounting and tax needs, including, but not limited to, preparing, and timely filing

all federal and state tax returns, handling its payroll taxes, maintaining its

QuickBooks, and preparing quarterly profit and loss statements. Defendants were

also engaged as Dr. Gruenbaum’s personal accountant.

       3.     However, defendants’ services were utterly deficient. Defendants

failed to act in plaintiffs’ best interests, and their services were procured through

defendants’ misrepresentations as to their qualifications and abilities.

       4.     Defendants’ acts and omissions, as alleged herein, have, and continue

to cause substantial financial harm to plaintiffs and give rise to the claims asserted

herein for breach of contract, breach of fiduciary duty, fraud, conversion, and unjust

enrichment, among others.

                                       PARTIES

       5.     Dr. Gruenbaum is an adult individual with a business address of 385

S. Maple Avenue, #107, Glen Rock, New Jersey 07452.

       6.     Tamar Gruenbaum DDS, LLC, d/b/a Ridgewood Valley Pediatric

Dentistry is a New Jersey limited liability company with an address of 385 S. Maple

Avenue, #107, Glen Rock, New Jersey 07452.



                                           2
Case 2:21-cv-18714 09/16/2021
   BER-L-003841-21
   BER-L-003840-21 Document   1-1 Filed
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                                              of14 Page
                                                 19Trans 260
                                                   TransID:   of 282 PageID: 271
                                                         ID:LCV20211437649
                                                             LCV20212149907




      7.     Upon information and belief, Levine is an individual with an address

of 135 Rockaway Turnpike, Suite 111, Lawrence, New York 10128.

      8.     Upon information and belief, Levine is a certified public accountant.

      9.     Upon information and belief, Josh Levine CPA P.C. d/b/a Levine &

Associates (“Levine & Assoc”) is a New York professional corporation with an

address of 135 Rockaway Turnpike, Suite 111, Lawrence, New York 10128 and a

registered address of 8-21 Roosevelt Court, Far Rockaway, New York, 11691.

      10.    At all times material hereto, Levine has been a shareholder, officer,

director, principal, and agent of Levine & Assoc.

                             JURISDICTION AND VENUE

      11.    This Court has subject matter jurisdiction over this action pursuant to

N.J. Const. Art. VI § III.

      12.    This Court has personal jurisdiction over all of the parties, as each

party resides in, conducts business in or has its principal place of business in New

Jersey, and the actions described herein occurred in New Jersey.

      13.    Venue is appropriate in this Court pursuant to NJ Court Rules 4:3-

1(a)(5) and 4:3-2(a).

                                       FACTS

                                    Background

      14.    Dr. Gruenbaum grew up in Teaneck, New Jersey and earned her

D.D.S. from Columbia University College of Dental Medicine.




                                          3
Case 2:21-cv-18714 09/16/2021
   BER-L-003841-21
   BER-L-003840-21 Document   1-1 Filed
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                                         Pg49of
                                              of14 Page
                                                 19Trans 261
                                                   TransID:   of 282 PageID: 272
                                                         ID:LCV20211437649
                                                             LCV20212149907




      15.    Dr. Gruenbaum completed a general practice residency at Montefiore

Medical Center in Bronx, New York.

      16.    Dr. Gruenbaum did her post-graduate training in pediatric dentistry at

Maimonides Medical Center in Brooklyn, New York, where she served as chief

resident during her second year.

      17.    Dr. Gruenbaum is a member of the AAPD and is board certified by the

American Board of Pediatric Dentistry.

      18.    Dr. Gruenbaum is the owner of the Practice, which provides

comprehensive dental care to children from infancy through their teenage years.

      19.    In December 2017, Dr. Gruenbaum retained Levine as the Practice’s

accountant and tax professional.

      20.    At the time, upon information and belief, Levine operated as the sole

member of EHCM LLC d/b/a “Empire Healthcare Management, LLC.”

      21.    Upon information and belief, subsequently Levine ceased operating as

EHCM LLC d/b/a “Empire Healthcare Management, LLC” and began trading as

“Levine and Assoc LLC” or “Levine & Associates” and holding himself out as a

“Partner” thereof.

      22.    Upon information and belief, “Levine & Associates LLC” is a registered

New York limited liability company with a DOS number of 4905735 that is

unaffiliated with Levine.

      23.    Levine was also engaged as Dr. Gruenbaum’s personal accountant.




                                         4
Case 2:21-cv-18714 09/16/2021
  BER-L-003841-21
   BER-L-003840-21  Document   1-1 Filed
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                                          Pg 5
                                             10ofof14 Page
                                                    19Trans  262
                                                       TransID:   of 282 PageID: 273
                                                             ID:LCV20211437649
                                                                 LCV20212149907




      24.    Pursuant to the parties’ agreement, defendants agreed to handle all

the Practice’s accounting and tax needs, including, but not limited to, preparing,

and timely filing all federal and state tax returns, handling its payroll taxes,

maintaining its QuickBooks, and preparing quarterly profit and loss statements.

      25.    Defendants also agreed to provide accounting and tax services to Dr.

Gruenbaum, individually.

      26.    Defendants’ obligations included but were not limited to the following:

             a.     Perform and maintain bookkeeping functions, including

maintaining the company’s books, records, cash receipts, and cash disbursements

ledgers.

             b.     Hold monthly phone meetings with Dr. Gruenbaum to review

issues and discuss ways to improve the Practice;

             c.     Hold quarterly in person meetings with Dr. Gruenbaum to

address Practice and personal related accounting and financial issues;

             d.     Analyze the Practice’s books and records and report to Dr.

Gruenbaum concerning the same;

             e.     Provide services on an “as need” basis when accounting or

financial issues arise;

             f.     Provide personal tax planning and analyze cash flow for Dr.

Gruenbaum, individually;

             g.     Position the Practice for growth and to implement and maintain

systems to foster the Practice’s growth;



                                           5
Case 2:21-cv-18714 09/16/2021
  BER-L-003841-21
   BER-L-003840-21  Document   1-1 Filed
                    06/14/202112:10:45
                               8:31:26 PM 10/15/21
                                          Pg 6
                                             11ofof14 Page
                                                    19Trans  263
                                                       TransID:   of 282 PageID: 274
                                                             ID:LCV20211437649
                                                                 LCV20212149907




             h.    Oversee and manage the Practice’s workers’ compensation and

disability information audits;

             i.    Prepare the year end taxes for both the Practice and Dr.

Gruenbaum;

             j.    Recommend to the Practice cost savings practices and methods;

and

             k.    Develop and discuss tax planning strategies.

      27.    The above-referenced services that defendants were required to

provide are memorialized in a letter agreement attached hereto as Exhibit “1”.

      28.    Despite demand, defendants have not provided plaintiffs with a fully

executed copy of the agreement.

                     Defendants’ Fraud and Unlawful Conduct

      29.    For purposes of inducing Dr. Gruenbaum to retain his services, Levine

misrepresented that he was experienced and competent in providing accounting and

tax advice to dentists and oral surgeons.

      30.    Defendants misrepresented to Dr. Gruenbaum Levine’s successes

improving dental practices like Dr. Gruenbaum’s practice.

      31.    Levine also misrepresented the credentials, qualifications, and abilities

of his company.

      32.    For purposes of inducing Dr. Gruenbaum to retain his services, Levine

mispresented that he was experienced and competent in providing personal tax

advice in connection with divorce proceedings.



                                            6
Case 2:21-cv-18714 09/16/2021
  BER-L-003841-21
   BER-L-003840-21  Document   1-1 Filed
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                                          Pg 7
                                             12ofof14 Page
                                                    19Trans  264
                                                       TransID:   of 282 PageID: 275
                                                             ID:LCV20211437649
                                                                 LCV20212149907




        33.   Throughout defendants’ engagement, however, defendants failed to

perform the agreed-upon and above-referenced services.

        34.   Any services that were provided were deficient and of no value to

plaintiffs.

        35.   Among other things, defendants provided erroneous, deficient, and

substandard tax advice and services to plaintiffs, including, specifically, with

respect to the preparation of Dr. Gruenbaum’s 2019 tax returns.

        36.   As a result of defendants’ failings in connection therewith, Dr.

Gruenbaum has incurred substantial fees, costs, and expenses in her divorce

proceedings that she otherwise would not have incurred absent defendants’

misconduct.

        37.   As a result of defendants’ egregious mistakes in connection with the

Practice’s 2019 taxes, the Practice was unable to maximize its Paycheck Protection

Program loan and instead received a loan in an amount substantially less than it

otherwise would have been, absent defendants’ failings.

        38.   Defendants were required to, but failed to, file multiple IRS Form

941s.

        39.   Defendants’ failures to file resulted in an IRS investigation and the

imposition of penalties against the Practice and Dr. Gruenbaum personally.

        40.   Levine failed to accurately report the Practice’s employment tax

liability to the State of New Jersey.




                                           7
Case 2:21-cv-18714 09/16/2021
  BER-L-003841-21
   BER-L-003840-21  Document   1-1 Filed
                    06/14/202112:10:45
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                                          Pg 8
                                             13ofof14 Page
                                                    19Trans  265
                                                       TransID:   of 282 PageID: 276
                                                             ID:LCV20211437649
                                                                 LCV20212149907




      41.    For at least one Practice employee, Levine deducted the required

payroll tax from Dr. Gruenbaum’s account but failed to file the appropriate

documentation with the State of New Jersey, such that the State had no record of

the employee working for the Dr. Gruenbaum for any payroll period.

      42.    Levine fraudulently induced Gruenbaum to retain him for payroll

related services.

      43.    Levine referred Dr. Gruenbaum to a payroll vendor, Empire Payroll

Processing, Inc., and misrepresented that entity as an independent third party

rather than as an entity affiliated with Levine and his practice.

      44.    The payroll vendor’s services were substandard, and the costs were

grossly excessive.

      45.    At all times material hereto, when Dr. Gruenbaum questioned Levine’s

services, Levine sought to cover up his failings by misrepresenting to Dr.

Gruenbaum that everything had been taken care of properly.

      46.    On March 31, 2020, and on multiple occasions thereafter, Dr.

Gruenbaum sought, and Levine refused access to, the Practice’s QuickBooks

records.

      47.    As a result of defendants’ unlawful conduct, plaintiffs have suffered

emotional distress and substantial monetary harm, including out-of-pocket

expenses, fees, and costs for defendants are responsible.

      48.    Defendants, on the other hand, have been unjustly enriched, having

received undeserved compensation in connection with their engagement.



                                          8
Case 2:21-cv-18714 09/16/2021
  BER-L-003841-21
   BER-L-003840-21  Document   1-1 Filed
                    06/14/202112:10:45
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                                          Pg 9
                                             14ofof14 Page
                                                    19Trans  266
                                                       TransID:   of 282 PageID: 277
                                                             ID:LCV20211437649
                                                                 LCV20212149907




                                     COUNT I
                                BREACH OF CONTRACT

      49.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      50.    Plaintiffs and defendants are parties to a valid and enforceable

agreement.

      51.    Plaintiffs have performed under the agreement.

      52.    By doing the things alleged herein, defendants have materially

breached his agreement.

      53.    As a direct, proximate, and foreseeable result of defendants’ breaches

of contract, plaintiffs have suffered, and will continue to suffer, substantial damages

in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                               COUNT II
                 BREACH OF GOOD FAITH AND FAIR DEALING

      54.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      55.    By doing the things alleged herein, defendants have breached the duty

of good faith and fair dealing owed to plaintiffs.

      56.    As a direct, proximate, and foreseeable result of defendants’ breaches

of good faith and fair dealing, plaintiffs have suffered, and will continue to suffer,

substantial damages in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.



                                            9
Case 2:21-cv-18714 09/16/2021
  BER-L-003841-21
   BER-L-003840-21  Document12:10:45
                    06/14/2021  1-1 Filed
                               8:31:26 PM 10/15/21
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                                          Pg10
                                             15of 19Page
                                                of14 Trans267
                                                     Trans ID:  of 282 PageID: 278
                                                            ID:LCV20211437649
                                                               LCV20212149907




                                   COUNT III
                           BREACH OF FIDUCIARY DUTY

       57.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

       58.    Under New Jersey law, a fiduciary relationship exists when one party

is under a duty to act for or give advice for the benefit of another on matters within

the scope of their relationship.

       59.    By virtue of the parties’ relationship, defendants owed fiduciary duties

to the plaintiffs.

       60.    By doing the things alleged herein, defendants have breached their

fiduciary duties of care and loyalty to plaintiffs.

       61.    As a direct, proximate, and foreseeable result of defendants’ breaches

of fiduciary duty, plaintiffs have suffered, and will continue to suffer, substantial

damages in an amount to be determined at trial.

       WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                      COUNT IV
                                     CONVERSION

       62.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

       63.    By doing the things alleged herein, defendants converted the time,

money, resources, and other assets of the plaintiffs without privilege or

authorization and for their own improper purposes.




                                            10
Case 2:21-cv-18714 09/16/2021
  BER-L-003841-21
   BER-L-003840-21  Document12:10:45
                    06/14/2021  1-1 Filed
                               8:31:26 PM 10/15/21
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                                          Pg11
                                             16of 19Page
                                                of14 Trans268
                                                     Trans ID:  of 282 PageID: 279
                                                            ID:LCV20211437649
                                                               LCV20212149907




      64.    As a direct, proximate, and foreseeable result of defendants’

conversion, plaintiffs have suffered, and will continue to suffer, substantial

damages in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                     COUNT V
                                UNJUST ENRICHMENT

      65.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      66.    Defendants have and continue to benefit from their receipt of the

benefits and other compensation paid to them by the plaintiffs.

      67.    Defendants’ retention of said benefits constitutes unjust enrichment.

      68.    Accordingly, the Court should require defendants to return the benefits

bestowed upon them by the plaintiffs to the plaintiffs.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                COUNT VI
                     FRAUD/FRAUDULENT CONCEALMENT

      69.    Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

      70.    Defendants knowingly misrepresented the truth and/or concealed

material facts to induce plaintiffs to act to their detriment.

      71.    As alleged herein, defendants misrepresented to Dr. Gruenbaum that

Levine was a qualified, experienced, competent, and diligent professional.




                                           11
Case 2:21-cv-18714 09/16/2021
  BER-L-003841-21
   BER-L-003840-21  Document12:10:45
                    06/14/2021  1-1 Filed
                               8:31:26 PM 10/15/21
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                                          Pg12
                                             17of 19Page
                                                of14 Trans269
                                                     Trans ID:  of 282 PageID: 280
                                                            ID:LCV20211437649
                                                               LCV20212149907




        72.   Reasonably relying on these misrepresentations, plaintiffs retained

defendants’ services.

        73.   Reasonably relying on these misrepresentations, plaintiffs retained

entered into the agreement.

        74.   Additionally, defendants knowingly and intentionally concealed their

misconduct from plaintiffs for purposes of preventing them from uncovering the

truth of the same and continuing to reap the benefits that plaintiffs bestowed upon

them.

        75.   As a direct, proximate, and foreseeable result of defendants’ fraud and

fraudulent concealment, plaintiffs have suffered, and will continue to suffer,

substantial damages in an amount to be determined at trial.

        WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                     COUNT VII
                                    NEGLIGENCE

        76.   Plaintiffs hereby incorporate by reference herein all of the foregoing

allegations of the Complaint.

        77.   Defendants owed plaintiffs a duty of care as a certified public

accountant.

        78.   By doing the things alleged herein, defendants breached their duty of

care, acted negligently, and otherwise deviated from the acceptable professional

standards attendant to a certified public accountant.




                                          12
Case 2:21-cv-18714 09/16/2021
  BER-L-003841-21
   BER-L-003840-21  Document12:10:45
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                                             18of 19Page
                                                of14 Trans270
                                                     Trans ID:  of 282 PageID: 281
                                                            ID:LCV20211437649
                                                               LCV20212149907




      79.     As a direct, proximate, and foreseeable result of defendants’

negligence, plaintiffs have suffered, and will continue to suffer, substantial damages

in an amount to be determined at trial.

      WHEREFORE, plaintiffs pray for relief as more fully set forth below.

                                 PRAYER FOR RELIEF

      WHEREFORE, plaintiffs demand judgment against defendants as follows:

      (i)     compensatory and consequential damages in an amount to be

              determined at trial, against defendants, individually and/or jointly and

              severally as appropriate;

      (ii)    punitive damages;

      (iii)   reasonable attorney’s fees and costs;

      (iv)    pre- and post-judgment interest at the highest legal rate; and

      (v)     for such other and further relief as the Court may deem equitable, just,

              and proper, including the award of costs and expenses incurred by

              plaintiffs in this action.

                                    JURY DEMAND

      Plaintiffs demand trial by a jury of twelve on all of the triable issues of this

Complaint, pursuant to NJ Court Rules 1:8-2(b) and 4:35-1(a).

                        DESIGNATION OF TRIAL COUNSEL

      Pursuant to NJ Court Rule 4:25-4, plaintiffs hereby designate Benjamin A.

Garber, Esq. as trial counsel in this matter.




                                           13
Case 2:21-cv-18714 09/16/2021
  BER-L-003841-21
   BER-L-003840-21  Document12:10:45
                    06/14/2021  1-1 Filed
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                                          Pg14
                                             19of 19Page
                                                of14 Trans271
                                                     Trans ID:  of 282 PageID: 282
                                                            ID:LCV20211437649
                                                               LCV20212149907




                                  CERTIFICATIONS

      The undersigned hereby certifies that the matter in controversy is not the

subject of any other action pending in any Court or arbitration proceeding and no

other Court action or arbitration proceeding is contemplated. There is presently

pending one other action, at Docket No. C-154-19, in which one or more of the

parties to this action assert matters other than the matter in controversy herein.

      Other than the parties set forth in this complaint, I know of no other parties

that should be made a part of this lawsuit. I recognize my continuing obligation to

file and serve on all parties and the court an amended certification if there is a

change in the facts stated in this original certification.

      I certify that confidential personal identifiers have been redacted from

documents now submitted to the court and will be redacted from all documents

submitted in the future in accordance with Rule 1:38-7(b).

                                                Respectfully submitted,

Dated: June 14, 2021                            BRAVERMAN KASKEY GARBER PC

                                            BY: /s/ Benjamin A. Garber
                                               BENJAMIN A. GARBER, ESQUIRE
                                               One Liberty Place- 56th Floor
                                               1650 Market Street
                                               Philadelphia, Pennsylvania 19103
                                               Telephone: (215) 575-3800
                                               Facsimile: (215) 575-3801
                                                Attorneys for Plaintiffs




                                           14
CaseBER-L-003841-21
     2:21-cv-18714 Document    1-1 Filed
                    09/16/2021 12:10:45 PM10/15/21   Page ID:
                                           Pg 1 of 3 Trans 272 of 282 PageID: 283
                                                              LCV20212149907




                Exhibit B
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     2:21-cv-18714  Document
      BER L 003840-21
                    09/16/2021  1-1 Filed
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                                                          ID: ID:  of 282 PageID: 285
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                                                                  LCV20212149907
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     2:21-cv-18714 Document    1-1 Filed
                    09/16/2021 12:10:45 PM10/15/21   Page ID:
                                           Pg 1 of 1 Trans 275 of 282 PageID: 286
                                                              LCV20212149907




  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                  SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                     JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                       BERGEN COUNTY

                     Plaintiffs,             Docket No. BER-L-003841-21

                v.

  SHANALEE ACKERMAN
  and
  ACKERMAN PRACTICE
  MANAGEMENT, LLC,

                     Defendants.


                                      ORDER

      AND NOW, this ____ day of ____________, 2021, upon consideration of the

Motion to Consolidate and the response in opposition thereto, it is hereby

ORDERED that the motion is DENIED.


                                                  BY THE COURT:

                                                  _________________________
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CaseBER-L-003841-21
     2:21-cv-18714 Document    1-1 Filed
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BRAVERMAN KASKEY GARBER PC
BENJAMIN A. GARBER, ESQ.
I.D. No. 011382009
One Liberty Place, 56th Floor
1650 Market Street
Philadelphia, Pennsylvania 19103
Telephone: (215) 575-3800
Facsimile: (215) 575-3801
bgarber@braverlaw.com                                        Attorney for Plaintiffs

  TAMAR GRUENBAUM; and
  TAMAR GRUENBAUM DDS, LLC,                   SUPERIOR COURT OF NEW
  d/b/a RIDGEWOOD VALLEY                      JERSEY, LAW DIVISION
  PEDIATRIC DENTISTRY,                        BERGEN COUNTY

                      Plaintiffs,             Docket No. BER-L-003841-21

                v.

  SHANALEE ACKERMAN
  and
  ACKERMAN PRACTICE
  MANAGEMENT, LLC,

                      Defendants.


                           CERTIFICATION OF SERVICE

      I hereby certify that on the date below, a true and correct copy of the

foregoing Memorandum of Law by Plaintiffs in Response to Defendants’ Motion To

Consolidate was electronically filed and served via the Court’s , electronic filing

system upon the following:

                           Baruch S. Gottesman, Esquire
                              185-12 Union Turnpike
                          Fresh Meadows, New York 11366
                              bg@gottesmanlegal.com
                               Attorneys for Defendants
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                                           Pg 2 of 2 Trans 277 of 282 PageID: 288
                                                              LCV20212149907




      I hereby certify that the foregoing statements made by me are true. I am

aware that if any of the foregoing statements made by me are willfully false, I am

subject to punishment.



                                             Respectfully submitted,

Dated: September 16, 2021                    BRAVERMAN KASKEY GARBER PC

                                          BY: /s/ Benjamin A. Garber
                                             BENJAMIN A. GARBER, ESQUIRE
                                             One Liberty Place- 56th Floor
                                             1650 Market Street
                                             Philadelphia, Pennsylvania 19103
                                             Telephone: (215) 575-3800
                                             Facsimile: (215) 575-3801
                                             Attorneys for Plaintiffs




                                         2
Case 2:21-cv-18714 10/07/2021
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                                        Pg 1 of 2 Trans 278LCV20212344172
                                                            of 282 PageID: 289
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                                                            of 282 PageID: 291
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                                        Pg 2 of 3 Trans 281LCV20212344440
                                                            of 282 PageID: 292
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  BER-L-003841-21  Document 5:23:05
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                                        Pg 3 of 3 Trans 282LCV20212344440
                                                            of 282 PageID: 293
